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10
11                         UNITED STATES DISTRICT COURT
12                      SOUTHERN DISTRICT OF CALIFORNIA
13
     CARLOS VICTORINO and ADAM                 Case No.: '16CV1617 GPC JLB
14   TAVITIAN, individually, and on
     behalf of a class of similarly situated   CLASS ACTION COMPLAINT
15   individuals,                              FOR:
16                Plaintiffs,                  (1) Violations of California’s
                                                   Consumers Legal Remedies Act
17         v.                                  (2) Violations of Unfair Competition
                                                   Law
18   FCA US LLC, a Delaware limited            (3) Breach of Implied Warranty
     liability company,                            pursuant to Song-Beverly
19                                                 Consumer Warranty Act
                  Defendant.                   (4) Breach of Implied Warranty
20                                                 pursuant to the Magnuson-Moss
                                                   Warranty Act
21                                             (5) Unjust Enrichment
22                                             DEMAND FOR JURY TRIAL
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 1                                   INTRODUCTION
 2         1.     Plaintiffs Carlos Victorino and Adam Tavitian (“Plaintiffs”) bring
 3   this action for themselves and on behalf of all persons in the United States who
 4   purchased or leased any Dodge Dart vehicles1 equipped with a Fiat C635 manual
 5   transmission (“Manual Transmission”) (collectively, “Class Vehicles”) designed,
 6   manufactured, marketed, distributed, sold, warranted and serviced by FCA US
 7   LLC, a Delaware limited liability company (“FCA” or “Defendant”).
 8         2.     This case arises out of a defect in the Class Vehicle’s manual
 9   transmissions that cause the vehicles’ clutches to fail and stick to the floor.
10         3.     FCA designed and marketed2 its Manual Transmission to be
11   compact and lightweight with gearing optimized to increase fuel efficiency and
12   perform quick, seamless shifts. However, Plaintiffs are informed and believe
13   and based thereon allege that the Manual Transmission contains a design defect
14   that causes, among other problems, the clutch pedal to lose pressure, stick to the
15   floor, and fail to engage/disengage gears. As a result, the vehicles equipped with
16   the Manual Transmission experience stalling, failure to accelerate, and premature
17   failure of the transmission’s components, including, but not limited to, the clutch
18   master cylinder and reservoir hose, clutch slave cylinder and release bearing,
19   clutch disc, pressure plate, and flywheel (the “Transmission Defect”).
20         4.     On information and belief, the Transmission Defect is caused by a
21   design flaw in the clutch master cylinder wherein the internal and external seals
22   are ineffective in preventing debris from contaminating and prematurely wearing
23   the seals, resulting in the deprivation of hydraulic fluid to the slave cylinder and,
24         1
              On information and belief, these vehicles include, but are not limited to,
25   the following Dodge vehicles: 2013-2016 Dodge Darts.
            2
26            See Chrysler Media, “All-new 2013 Dodge Dart Features a Powertrain
     Lineup that Includes Two Tigershark Four-cylinder Engines and a 1.4-liter
27   MultiAir® Turbo Engine,”
     http://media.chrysler.com/newsrelease.do;jsessionid=31332A75DA55E8EDD2E
28   533D1DFC3E1FC?&id=11858&mid=1 (last visited July 21, 2014).

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 1   thus, causing collateral damage to the vehicle’s clutch slave cylinder and release
 2   bearing, clutch disc, pressure plate, and flywheel. Further, on information and
 3   belief, the Transmission Defect is exacerbated by Defendant’s use of a plastic
 4   clutch master cylinder, which is prone to corrosion by constant exposure to
 5   hydraulic fluid.
 6         5.     Since 2012, in an effort to address owner complaints regarding the
 7   Transmission Defect, FCA has issued Technical Service Bulletins (“TSBs”),
 8   customer satisfaction campaigns (“CSCs”), and STAR cases, as detailed below.
 9   However, these efforts have been entirely inadequate in remedying the
10   Transmission Defect. In fact, rather than redesigning the defective components,
11   FCA has perpetuated the Transmission Defect by simply utilizing the same
12   defective components during repairs. Further, Class Vehicle owners
13   experiencing the Transmission Defect must pay for the temporary repairs, often
14   totaling over $2,000.
15         6.     Additionally, FCA refuses to pay for any repair costs associated
16   with the collateral damage caused by the Transmission Defect, including, but not
17   limited to, the recurring replacement of the clutch slave cylinder and release
18   bearing, clutch disc and pressure plate, and flywheel.
19         7.     Manual transmissions use a driver-controlled clutch. By pressing
20   and releasing a foot pedal, the driver engages and disengages the engine from the
21   transmission, allowing the vehicle to travel smoothly while the driver manually
22   changes gears. When the clutch pedal is depressed, the engine and the
23   transmission are disconnected so that the engine can continue to run even while
24   the car is stationary. When the clutch pedal is released, the engine and the shaft
25   from the engine are directly connected. A properly functioning clutch pedal is
26   essential for proper vehicle operation, i.e. starting, accelerating, decelerating,
27   reversing, and parking.
28
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 1         8.     The Class Vehicles are equipped with a hydraulic clutch system.
 2   This system engages and disengages the clutch using hydraulic pressure.
 3   Depressing the clutch pedal develops hydraulic pressure in the clutch master
 4   cylinder, and ultimately causes the clutch disc to release. The figure below
 5   shows a typical clutch hydraulic system, which consists of a clutch master
 6   cylinder (2), slave cylinder (3), and an interconnecting hydraulic hose. Clutch
 7   hydraulic fluid is supplied by the brake system via the brake master cylinder
 8   reservoir (1):
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21         9.     A vehicle equipped with a manual transmission should function in a
22   manner that the driver expects, i.e. it should start, accelerate, decelerate, reverse,
23   and park as the driver operates the clutch. However, the Manual Transmission
24   does not function as expected and is instead plagued by numerous problems and
25   safety concerns.
26         10.    On information and belief, the Dodge Dart vehicles equipped with
27   the Manual Transmission have the same or substantially identical transmissions,
28
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 1   and the Transmission Defect is the same for all Class Vehicles.
 2         11.    The Transmission Defect causes unsafe conditions, including, but
 3   not limited to, drivers of the Class Vehicles’ inability to shift gears or maneuver
 4   the clutch pedal, thereby rendering the vehicle unable to accelerate and
 5   decelerate, often while the vehicle is already in motion. These conditions
 6   present a safety hazard because they severely affect the driver’s ability to control
 7   the vehicle’s speed, acceleration, and deceleration. As an example, these
 8   conditions make it difficult to maintain appropriate speeds, safely change lanes
 9   or merge into traffic because Plaintiffs and Class Members’ vehicles have lost
10   power and failed to accelerate when they attempted to change lanes and/or merge
11   onto the highway.3 These conditions also caused Plaintiffs and Class Members
12   to have difficulty safely bringing their vehicles to a stop or parking their
13   vehicles.
14         12.    On information and belief, the Transmission Defect also causes
15   premature wear to the Manual Transmission and its related components, which
16   results in premature clutch system or transmission failure and requires expensive
17   repairs, including replacements of the clutch master cylinder and reservoir hose,
18   clutch slave cylinder and release bearing, clutch disc and pressure plate, and
19   flywheel.
20         13.    Defendant knew or should have known that the Class Vehicles and
21
           3
22           See, for example, this 2014 Dart owner’s complaint to the National
     Highway Traffic Safety Administration (“NHTSA”): (2014 Dodge Dart
23   4/9/2015) PURCHASED A 2014 DODGE DART USED WITH A 6 SPEED.
     THIS INCIDENT HAPPENED JUST THREE WEEKS AFTER I PURCHASED
24   IT. I NOTICED IT STARTED TO SLIP AND WHILE DRIVING DOWN THE
     HIGHWAY I HEARD A NOISE, CAR LOST POWER AND SMOKE
25   STARTED POURING OUT FROM UNDER THE HOOD. I HAD IT TOWED
     TO THE DEALERSHIP WHERE I WAS INFORMED THAT SOMETHING
26   FAILED IN THE CLUTCH, BLOWING A HOLE THROUGH THE
     TRANSMISSION. THIS ALL HAPPENED WITHIN A MINUTE OR SO
27   WHILE DRIVING AT HIGHWAY SPEEDS. (Safercar.gov, Search for Safety
     Problems (May 19, 2016), http://www-odi.nhtsa.dot.gov/owners/Search
28   SafetyIssues).

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 1   the Manual Transmission contained a design defect that adversely affects the
 2   drivability of the Class Vehicles and causes safety hazards, in part, because the
 3   same concerns were expressed regarding the 2011-2012 models year Dodge
 4   Journey that had the same Manual Transmission as the Class Vehicles.
 5         14.    On information and belief, Defendant’s corporate officers, directors,
 6   or managers knew about the Transmission Defect and failed to disclose it to
 7   Plaintiffs and Class Members, at the time of sale, lease, repair, and thereafter.
 8         15.    In fact, on or around January 20, 2012, Chrysler issued a Service
 9   Bulletin “06-001-12”4 for the 2011-2012 Dodge Journey vehicles equipped with
10   the Fiat C635 Manual Transmission. The Service Bulletin stated that the clutch
11   pedal was inoperative in some vehicles.
12         16.    Further, in or around November 2012, FCA issued service bulletin
13   10051770-2112 informing dealers that certain 2013 Dodge Dart vehicles were
14   equipped with defective clutch slave cylinders and could cause a hydraulic fluid
15   leak, which leads to a pressure loss in the clutch system and failure of the clutch
16   pedal. FCA instructed its dealers to replace the clutch slave cylinder in the
17   affected vehicles.
18         17.    Then, on or around August 15, 2014, FCA released STAR case
19   number S1406000001 to its dealers addressing an issue in Dodge Dart vehicles
20   equipped with the Manual Transmission where the “Clutch Pedal Does Not
21   Return (Remains on the Floor) After Depressing the Pedal.” FCA instructed its
22   dealers to inspect the clutch pedal and replace the clutch master cylinder and
23   reservoir hose, if necessary.
24         18.    Additionally, in or around January 2016, FCA extended the clutch
25   master cylinder and reservoir hose warranty period due to 2013-2015 Dodge
26
           4
27           The same bulletin is referred to as “2011 Dodge Journey Power Train
     Service Bulletin 329136” and “2012 Dodge Journey Power Train Service
28   Bulletin 329136.”

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 1   Dart vehicles exhibiting a “loss of clutch pedal operation including limited pedal
 2   travel and limited clutch disengagement.” FCA also provided reimbursement for
 3   Dodge Dart owners who experienced the clutch issues mentioned and previously
 4   paid for clutch master cylinder repairs. On information and belief, the campaign
 5   neither fixed the Transmission Defect nor actually reimbursed all owners
 6   affected by the Transmission Defect for repairs performed on the clutch master
 7   cylinder and reservoir hose.
 8         19.    Because FCA will not notify Class Members that the Manual
 9   Transmission is defective, Plaintiffs and Class Members (as well as members of
10   the general public) remain subject to dangerous driving conditions that often
11   occur without warning.
12         20.    The alleged Transmission Defect was inherent in each Dodge Dart’s
13   Manual Transmission and was present in each Dodge Dart Manual Transmission
14   at the time of sale.
15         21.    FCA knew about and concealed the Transmission Defect present in
16   every Class Vehicle, along with the attendant dangerous safety and driveability
17   problems, from Plaintiffs and Class Members, at the time of sale, lease, and
18   repair and thereafter. In fact, instead of repairing the defects in the Manual
19   Transmission, FCA either refused to acknowledge their existence, or performed
20   repairs that simply masked the defects.
21         22.    If Plaintiffs and Class Members knew about these defects at the time
22   of sale or lease, Plaintiffs and Class Members would not have purchased or
23   leased the Class Vehicles or would have paid less for them.
24         23.    As a result of their reliance on Defendant’s omissions, owners
25   and/or lessees of the Class Vehicles suffered an ascertainable loss of money,
26   property, and/or value of their Class Vehicles, including, but not limited to, out
27   of pocket costs related to repairs to the Manual Transmission. Additionally, as a
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 1   result of the Transmission Defect, Plaintiffs and Class Members were harmed
 2   and suffered actual damages in that the Class Vehicles’ clutch components are
 3   substantially certain to fail before their expected useful life has run.
 4                                     THE PARTIES
 5   Plaintiff Carlos Victorino
 6         24.    Plaintiff Carlos Victorino is a California citizen who resides in
 7   Chula Vista, California.
 8         25.    On or about March 22, 2014, Mr. Victorino purchased a new 2014
 9   Dodge Dart from San Diego Chrysler Dodge Jeep Ram (“San Diego Dodge”), an
10   authorized FCA dealer in San Diego County. Mr. Victorino’s vehicle was
11   equipped with a Manual Transmission.
12         26.    Mr. Victorino purchased his vehicle primarily for personal, family,
13   or household use. FCA manufactured, sold, distributed, advertised, marketed,
14   and warranted the vehicle.
15         27.    Passenger safety and reliability were factors in Mr. Victorino’s
16   decision to purchase his vehicle. Prior to purchasing his vehicle, Mr. Victorino
17   spent time researching the Dodge Dart on Dodge’s corporate website. Based on
18   his research, Mr. Victorino believed that the Dodge Dart would be a safe and
19   reliable vehicle. Mr. Victorino also test drove his vehicle with a dealership
20   salesperson prior to purchase.
21         28.    Had FCA disclosed its knowledge of the Transmission Defect
22   before he purchased his vehicle, Mr. Victorino would have seen such disclosures
23   and been aware of them. Indeed, FCA’s omissions were material to Mr.
24   Victorino. Like all members of the Class, Mr. Victorino would not have
25   purchased his Class Vehicle, or would have paid less for it, had he known of the
26   Transmission Defect.
27         29.    Since purchasing his Dodge Dart, Mr. Victorino experienced
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 1   symptoms of the Transmission Defect, including the clutch failing to engage
 2   gears and stalling. On or around January 13, 2016, with approximately 34,351
 3   miles on the odometer, Mr. Victorino brought his vehicle to San Diego Dodge
 4   complaining that the vehicle’s clutch frequently failed to engage gears and upon
 5   shifting, would fail to accelerate. The service technician inspected the vehicle
 6   and found that the clutch assembly, flywheel, and slave cylinder were overheated
 7   and worn. The technician replaced the clutch assembly, flywheel, and slave
 8   cylinder at a cost of $1,165.31 to Mr. Victorino.
 9           30.   At all times, Mr. Victorino, like all Class Members, has driven his
10   vehicle in a foreseeable manner and in the manner in which it was intended to be
11   used.
12   Plaintiff Adam Tavitian
13           31.   Plaintiff Adam Tavitian is a California citizen who resides in North
14   Hollywood, California.
15           32.   On or around November 17, 2012, Mr. Tavitian purchased a new
16   2013 Dodge Dart from Stewart Chrysler Dodge Jeep Ram, an authorized FCA
17   dealer in San Mateo County (“Stewart Chrysler”). Mr. Tavitian’s vehicle was
18   equipped with a standard Manual Transmission.
19           33.   Mr. Tavitian purchased his vehicle primarily for personal, family, or
20   household use. FCA manufactured, sold, distributed, advertised, marketed, and
21   warranted the vehicle.
22           34.   Passenger safety and reliability were factors in Mr. Tavitian’s
23   decision to purchase his vehicle. Prior to purchasing his vehicle, Mr. Tavitian
24   spent time researching the Dodge Dart on Dodge’s corporate website. Based on
25   his research, Mr. Tavitian believed that the Dodge Dart would be a safe and
26   reliable vehicle. Mr. Tavitian also test drove his vehicle with a dealership
27   salesperson prior to purchase.
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 1           35.   Had FCA disclosed its knowledge of the Transmission Defect
 2   before he purchased his vehicle, Mr. Tavitian would have seen such disclosures
 3   and been aware of them. Indeed, FCA’s omissions were material to Mr.
 4   Tavitian. Like all members of the Class, Mr. Tavitian would not have purchased
 5   his Class Vehicle, or would have paid less for it, had he known of the
 6   Transmission Defect.
 7           36.   On or around July 7, 2014, Mr. Tavitian took his vehicle to Rydell
 8   Chrysler, complaining that the clutch pedal installed in his Dodge Dart would
 9   stick in the depressed position and fail to shift gears. The service technician
10   inspected the vehicle and determined that the clutch master cylinder was leaking
11   and subsequently replaced the clutch master cylinder at a cost of $298.33 to Mr.
12   Tavitian. In May 2016, Mr. Tavitian requested reimbursement from FCA for the
13   repair costs incurred in replacing the clutch master cylinder in response to FCA’s
14   customer service campaign providing for such reimbursement. However, Mr.
15   Tavitian’s claim was denied.
16           37.   Despite requesting reimbursement for the clutch master cylinder
17   replacement per FCA’s customer service campaign in early 2016, receiving a
18   letter from FCA informing him that his Class Vehicle was included in its CSP,
19   which extended the warranty of the clutch master cylinder and reservoir hose and
20   provided reimbursement to owners of the affected vehicles who previously
21   replaced the cylinder and/or hose, FCA denied Mr. Tavitian’s claim for
22   reimbursement.
23           38.   At all times, Mr. Tavitian, like all Class Members, has driven his
24   vehicle in a foreseeable manner and in the manner in which it was intended to be
25   used.
26   Defendant
27           39.   Defendant FCA US LLC is a limited liability company organized
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 1   and in existence under the laws of the State of Delaware and registered to do
 2   business in the State of California. FCA US LLC’s Corporate Headquarters are
 3   located at 1000 Chrysler Drive, Auburn Hills, Michigan 48326. FCA US LLC
 4   designs, manufactures, markets, distributes, services, repairs, sells, and leases
 5   passenger vehicles, including the Class Vehicles, nationwide and in California.
 6   FCA US LLC is the warrantor and distributor of the Class Vehicles in the United
 7   States.
 8         40.    At all relevant times, Defendant was and is engaged in the business
 9   of designing, manufacturing, constructing, assembling, marketing, distributing,
10   and selling automobiles and motor vehicle components in San Diego County and
11   throughout the United States of America.
12                                    JURISDICTION
13         41.    This is a class action.
14         42.    Plaintiffs and other members of the Proposed Class are citizens of
15   states different from the home state of Defendants.
16         43.    On information and belief, aggregate claims of individual Class
17   Members exceed $5,000,000.00 in value, exclusive of interest and costs.
18         44.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(d).
19                                          VENUE
20         45.    FCA, through its business of distributing, selling, and leasing the
21   Class Vehicles, has established sufficient contacts in this district such that
22   personal jurisdiction is appropriate. Defendant is deemed to reside in this district
23   pursuant to 28 U.S.C. § 1391(a).
24         46.    In addition, a substantial part of the events or omissions giving rise
25   to these claims and a substantial part of the property that is the subject of this
26   action are in this district. In addition, Plaintiff Carlos Victorino’s Declaration, as
27   required under California Civil Code section 1780(d) but not pursuant to Erie
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 1   and federal procedural rules, reflects that a substantial part of the events or
 2   omissions giving rise to the claims alleged herein occurred, or a substantial part
 3   of property that is the subject of this action, is situated in San Diego County,
 4   California. It is attached as Exhibit 1.
 5         47.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a).
 6                              FACTUAL ALLEGATIONS
 7         48.    Since 2012, FCA has designed, manufactured, distributed, sold, and
 8   leased the Class Vehicles. FCA has sold, directly or indirectly, through dealers
 9   and other retail outlets, thousands of Class Vehicles equipped with the Manual
10   Transmission in California and nationwide.
11         49.    FCA designed and marketed its Manual Transmission to be compact
12   and lightweight with gearing optimized to increase fuel efficiency and perform
13   quick, seamless shifts. However, Plaintiffs are informed and believe and based
14   thereon allege that the Manual Transmission contains a design defect that causes,
15   among other problems, the clutch pedal to lose pressure, stick to the floor, and
16   fail to engage/disengage gears. As a result, the vehicles equipped with the
17   Manual Transmission experience stalling, failure to accelerate, and premature
18   failure of the transmission’s components, including, but not limited to, the clutch
19   master cylinder and reservoir hose, clutch slave cylinder and release bearing,
20   clutch disc, pressure plate, and flywheel (the “Transmission Defect”).
21         50.    Theoretically, a vehicle equipped with a manual transmission should
22   function in a manner that the driver expects, i.e. it should start, accelerate,
23   decelerate, reverse, and park as the driver operates the clutch. In practice,
24   however, FCA’s Manual Transmission is plagued by numerous problems and
25   safety concerns.
26         51.    On information and belief, the Transmission Defect is caused by a
27   design flaw in the clutch master cylinder wherein the internal and external seals
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 1   are ineffective in preventing debris from contaminating and prematurely wearing
 2   the seals, resulting in the deprivation of hydraulic fluid to the slave cylinder and,
 3   thus, causing collateral damage to the vehicle’s clutch slave cylinder and release
 4   bearing, clutch disc, pressure plate, and flywheel. Further, on information and
 5   belief, the Transmission Defect is exacerbated by Defendant’s use of a plastic
 6   clutch master cylinder, which is prone to corrosion by constant exposure to
 7   hydraulic fluid.
 8         52.    The alleged Transmission Defect is inherent in each Dodge Dart’s
 9   Manual Transmission and was present in each Dodge Dart’s manual transmission
10   at the time of sale.
11         53.    Dating back to at least January 2012, FCA was aware of the defects
12   of the Manual Transmission. FCA, however, failed to disclose these known
13   defects to consumers. As a result of this failure, Plaintiffs and Class Members
14   have been damaged.
15          The Transmission Defect Poses an Unreasonable Safety Hazard
16         54.    The Transmission Defect causes unsafe conditions, including, but
17   not limited to, drivers of the Class Vehicles’ inability to shift gears or maneuver
18   the clutch pedal, thereby rendering the vehicle unable to accelerate and
19   decelerate, often while the vehicle is already in motion. These conditions
20   present a safety hazard because they severely affect the driver’s ability to control
21   the vehicle’s speed, acceleration, and deceleration. As an example, these
22   conditions make it difficult to maintain appropriate speeds, safely change lanes
23   or merge into traffic because Plaintiffs and Class Members’ vehicles have lost
24   power and failed to accelerate when they attempted to change lanes and/or merge
25   onto the highway. These conditions also caused Plaintiffs and Class Members
26   to have difficulty safely bringing their vehicles to a stop or parking their
27   vehicles.
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 1         55.   Hundreds of purchasers and lessees of the Class Vehicles have
 2   experienced problems with the manual transmission. Complaints filed by
 3   consumers with the National Highway Traffic Safety Administration
 4   (“NHTSA”) demonstrate that the defect is widespread and dangerous and that it
 5   manifests without warning. The complaints also indicate Defendant’s awareness
 6   of the problems with the transmission and how potentially dangerous the
 7   defective condition is for consumers. The following are some safety complaints
 8   relating to the Transmission Defect (spelling and grammar mistakes remain as
 9   found in the original) (Safercar.gov, Search for Safety Issues (May 25, 2016),
10   http://www-odi.nhtsa.dot.gov/owners/SearchSafetyIssues/):
11   2013 Dodge Dart:
          a. 2/2/2013 THIS VEHICLE SHIFTS SO BAD AND THAT CARS
12           I'VE DRIVEN THAT WERE 5 - 10 YEARS OLDER SHIFTED
             BETTER THAN THIS . IT DOWNSHIFTS WHILE BRAKING
13           AND SOMETIME IT IS A VERY JERKY DOWNSHIFT .ALSO IT
             SLAMS/JOLTS INTO FIRST GEAR WHILE ROLLING AT
14           ABOUT 3-5 MILES PER HOUR ONCE THE PEDAL IS PUSHED.
             IT ALSO IS THE WORST AT CHANGING GEARS DURING
15           STOP AND GO DRIVING BECAUSE IT IS SO JERKY AND
             BOUNCY AFTER BRAKING THEN ACCELERATING AND I
16           DON'T SEE WHY A CAR THAT IS BRAND NEW SHOULD DO
             THIS. AFTER TAKING IT TO THE DEALER AND HAVING
17           THEM TELL ME TO BRAKE IT IN FIRST , I HAVE DONE SO
             AND HAVE 700+ MILES ON IT AND HAVE HAD THEM
18           PERFORM TRANSMISSION FLASH UPDATES WITH NO
             EFFECT ON THE SHIFTING PROBLEMS. I CAN'T SEE HOW
19           THIS TRANSMISSION( AND ALL PARTS THAT WORK
             TOGETHER WITH IT )WILL LAST WITH THESE SORT OF
20           THINGS HAPPENING. ALSO IT BOGS OUT BECAUSE IT
             WON'T DOWNSHIFT WHEN IT SHOULD AND STAYS AT
21           ABOUT 1300-1400 RPM'S WHEN IT SHOULD BE ABOUT 4-
             5000 RPM'S HIGHER . I'VE DRIVEN NEW CARS AND THE
22           DODGE DART 2013 SE 2.0 LITER MODEL SEEMS LIKE IT
             WASN'T READY YET FOR THE ROAD .THE ACCELERATION
23           IS VERY BOUNCY TOO WHEN IT SHOULD BE A STEADY
             ACCELERATION. *TR
24
           b. 3/25/2013 WHEN DRIVING DOWN THE HIGHWAY, I
25            ATTEMPTED TO DOWNSHIFT TO CHANGE LANES. THE
              CLUTCH BASICALLY POPPED AND WENT TO THE FLOOR. I
26            THEN HAD TO SWERVE IN TRAFFIC IN ORDER TO GET OFF
              THE HIGHWAY. I HAVE A 2013 DART SXT WITH THE 1.4L
27            MULTIAIR ENGINE AND THE 6 SPEED TRANSMISSION.
              AFTER LOOKING AROUND ON THERE WEB, THIS IS
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             APPARENTLY NOT AN ISOLATED INCIDENT AND MAY
 1           ACTUALLY BE A KNOWN ISSUE WITH THE VEHICLES.
             CHRYSLER NEEDS TO NOT ONLY FIX THIS PROBLEM, BUT
 2           IT SHOULD BE RECALLED AS IT CAN HAPPEN AT ANY
             TIME. I HAVE FOUND THAT SOME VEHICLES HAVE THIS
 3           HAPPEN IN AS LITTLE AS THE FIRST FEW DAYS OF
             OWNERSHIP OR AS IN MY CASE, AFTER A FEW THOUSAND
 4           MILES. IT IS DANGEROUS. I WOULD PUT IN THE VIN, BUT
             THE CAR IS CURRENTLY AT THE DEALERSHIP AS THIS
 5           HAPPENED TODAY. THANK YOU. *TR
 6        c. 8/8/2013 ON THREE SEPARATE OCCASIONS WHEN I AM IN
             TRAFFIC AND HAVE TO DO A LOT OF START/STOP THE
 7           CAR STALLS, WILL NOT GO INTO GEAR AND START
             SMOKING. IT SMELLS AS IF THE CLUTCH IS BURNING AND
 8           THE CAR WILL NOT GO INTO GEAR. I HAVE TO PULL OVER
             FOR ABOUT 30MIN TO AN HOUR TO STOP THIS FROM
 9           CONTINUING. THIS IS A BRAND NEW CAR AND I HAVE
             TAKEN IT TO THE DEALER AND THEY OF COURSE CANT
10           DUPLICATE THE PROBLEM AND THE TECH IS TELLING ME
             THE CLUTCH IS OVERHEATING BECAUSE OF USER ERROR.
11           I HAVE BEEN DRIVING A STICK SHIFT FOR ABOUT 15
             YEARS AND HAVE NEVER HAD ANY PROBLEMS WITH MY
12           OTHER STICK SHIFTS LIKE THIS ONE. EVERYONE AROUND
             ME CAN SEE THE CAR SMOKING AND MY DAUGHTER IS
13           SCARED TO DEATH TO GET BACK IN THE CAR BECAUSE
             SHE HAS EXPERIENCED THIS TWICE NOW AND SHE IS
14           ONLY 4 YEARS OLD SHE THINK THE CAR IS GOING TO
             CATCH ON FIRE. I SHOULD NOT HAVE TO PULL OVER FOR
15           AN HOUR EVERYTIME I AM IN TRAFFIC. I LIVE IN A CITY
             WHERE THAT IS NOT PREVENTABLE. THERE HAS GOT TO
16           BE SOMETHING THAT CAN BE DONE ABOUT THIS. *TR
17        d. 8/20/2013 1. CLUTCH STARTED TO LOSE RESISTANCE
             COUPLE TIMES A MONTH IN TWO LAST MONTHS. NOW
18           ALMOST EVERY DAY AFTER LONG TIME NOT USING IT. IT
             FREELY GOING DOWN, SOMETIMES STUCK IN THE HALF
19           WAY OUT AND HAVE TO BE PULLED UP. 2. BRAKES
             STARTED LOSE RESISTANCE RECENTLY ALSO AFTER
20           LONG TIME NOT TO BE USED (1 OR MORE HOURS)
             SPECIALLY IN THE MORNING. IT FREELY GOING DOWN
21           HALF WAY PRODUCING AIR BLOW SOUND. AFTER A FEW
             TIMES PUSHING PEDAL DOWN AIR BLOW STOPS AND
22           RESISTANCE GETS OK. BEHIND OF BRAKE PEDAL IT FEELS
             SOME KING OF LIQUID. 3. ACCELERATION AT HIGH SPEED
23           TAKES LONGER TIME THEN IT WAS BEFORE AND
             REQUIRES TO SWITCH TO LOWER GEAR. (TURBO
24           PROBLEM?) 4. MPG DECREASED. ON THE SAME WAY TO
             AND BACK TO WORK USUALLY IT WAS 32-33 MPG. NOW IT
25           GETS 28-29 TODAY BROUGHT CAR TO DEALER. AFTER A
             WHOLE DAY OF INSPECTION NOTHING WRONG WAS
26           FOUND. *TR
27        e. 9/8/2013 WHEN I GO TO SHIFT FROM 1ST TO 2ND GEAR THE
             CLUTCH PEDAL STAYS DEPRESSED, THIS KEEPS THE CAR
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             IN NEUTRAL AND LEAVING IT UNABLE TO DELIVER
 1           POWER TO MANEUVER.
 2        f. 9/12/2013 CLUTCH PEDAL DOES NOT ALWAYS COME ALL
             THE WAY BACK UP. I HAVE TO PULL IT UP WITH MY FOOT.
 3           I CAN TELL IT DOES NOT HAVE THE CLUTCH ENGAGED TO
             BURN IT OUT. JUST A IRRITATING THING TO HAVE TO DO
 4           ON A BRAND NEW CAR. TOOK IT TO THE DEALERSHIP FOR
             ANOTHER ISSUE AND HAD THEM CHECK IT. THEY COULD
 5           NOT GET IT TO STICK. AND SINCE CHRYSLERS SYSTEM
             WAS DOWN THEY DIDN'T KNOW WHAT TO LOOK AT. THIS
 6           HAPPENS AND RANDOM TIMES. THIS MORNING IT
             HAPPENED. WHEN I WENT TO PUSH THE CLUTCH DOWN I
 7           COULD TELL THERE WAS NO RESISTANCE FOR A FEW
             INCHES. WHEN I RELEASED THE CLUTCH IT ONLY CAME
 8           PART WAY UP AGAIN. BIGGEST FRUSTRATION IS THE
             TECH'S CAN NOT PROBLEM SOLVE ANYTHING WITH OUT
 9           A COMPUTER TELLING THEM WHAT TO DO. I MADE A FEW
             SUGGESTIONS ON WHAT TO CHECK BUT THEY HAD NOT
10           CLUE. SINCE THIS IS THE FIRST YEAR FOR THIS CAR I DO
             EXPECT BUGS IN THE SYSTEM. HOWEVER THEY SHOULD
11           BE PREPARED TO PROBLEM SOLVE THIS PROBLEMS. I
             SHOULD NOT HAVE TO MAKE SUGGESTIONS OR PROBLEM
12           SOLVE IT MYSELF. *TR
13        g. 10/24/2013 PRESSED IN CLUTCH PEDAL TO START VEHICLE.
             AFTER CAR STARTED, TRIED TO TAKE CAR OUT OF GEAR
14           BUT IT WOULDN'T BUDGE. ALSO, THE CLUTCH PEDDLE
             WOULD NOT RELEASE, AS IT WAS STUCK TO THE FULLY
15           PRESSED POSITION. CAR BEGAN TO ROLL AS IF IT
             STARTED TO DISENGAGE BUT THE PEDDLE WAS STILL
16           COMPLETELY PRESSED IN. I IMMEDIATELY TURNED THE
             CAR OFF. I HAD TO PULL THE CLUTCH PEDDLE UP BY
17           HAND TO GET IT TO DISENGAGE. CALLED DEALER
             SERVICE, SAID THEY COULDN'T RESOLVE THE ISSUE IF
18           THEY COULDN'T DUPLICATE THE PROBLEM. I'VE NOTICED
             MANY PEOPLE WITH THE SAME ISSUE. CHRYSLER NEEDS
19           TO ISSUE A RECALL ON THIS. *TR
20        h. 1/2/2014 ANOTHER TIME CLUTCH WOULD NOT COME UP
             AND STAYED TO THE FLOOR,CLUTCH FLUID LEAKED
21
          i. 3/12/2014 AFTER SEVERAL HOURS OF STAYING PARKED
22           WITH TRANSMISSION IN GEAR (1ST), VEHICLE WOULD
             NOT DISENGAGE GEARBOX ON STARTUP. CLUTCH LOST
23           ALL PRESSURE AND THE VEHICLE REQUIRED EXCESSIVE
             USE OF FORCE TO DISLODGE GEAR SHIFTER. VEHICLE
24           WAS STARTED (CLUTCH DISENGAGED AND IN NEUTRAL)
             AND      VEHICLE  BEGAN   TO   DRIVE   FORWARD.
25           CLUTCH/TRANSMISSION REMAINED IN CONTACT WITH
             ENGINE CAUSING THE VEHICLE TO CONTINUE MOVING
26           FORWARD        EVEN     WHILE    IN     NEUTRAL.
             TRANSMISSION/CLUTCH WOULDN'T REENGAGE WITHOUT
27           EXCESSIVE FORCE. *TR
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          j. 3/24/2014 BRAND NEW 2013 DODGE DART, SIX SPEED
 1           MANUAL TRANSMISSION. BEGAN SMELLING AND
             SMOKING WHEN TEACHING MY SON HOW TO START ON A
 2           HILL. SMOKE WAS COMING FROM FRONT RIGHT SIDE OF
             TRANSMISSION. SMELLED LIKE A BURNING CLUTCH. THIS
 3           OCCURRED AFTER A SHORT PERIOD OF TIME ON THE HILL
             (LESS THAN FIVE MINUTES). TOOK CAR BACK TO
 4           DEALERSHIP TODAY (3-24-14), AND WAS TOLD THERE IS A
             STICKER ON THE TRANSMISSION THAT BURNS (IT WAS
 5           REMOVED TODAY, AND HAS BEEN REMOVED ON OTHER
             DARTS THEY HAVE WORKED ON FOR THE SAME
 6           PROBLEM), AND THE SMELL AND SMOKE WERE ALSO
             COMING FROM THE CLUTCH. THEY TEST DROVE THE CAR
 7           OVER SOME HILLS NEAR THE DEALERSHIP AND WERE
             ABLE TO REPRODUCE THE SAME SMELL, BUT SAID IT IS
 8           LIKELY CAUSED BY THE NEW CLUTCH AND SHOULD BE
             DRIVEN 1500-2000 MILES BEFORE BEING CONCERNED
 9           ABOUT THIS ISSUE. I HAVE NEVER EXPERIENCED CLUTCH
             BURNING LIKE THIS, ESPECIALLY AFTER SUCH A SHORT
10           PERIOD OF TIME ON THE HILL, AND I'VE DRIVEN MANY
             MANUAL CARS/TRUCKS OVER MANY YEARS. *TR
11
          k. 4/17/2014 TL* THE CONTACT OWNS A 2013 DODGE DART.
12           THE CONTACT STATED THAT WHILE TRAVELING
             VARIOUS SPEEDS, THE VEHICLE FAILED TO RESPOND TO
13           DECELERATION ATTEMPTS. THE VEHICLE WAS NOT
             DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS
14           NOT CONTACTED ABOUT THE FAILURE. THE FAILURE
             MILEAGE WAS 3,500.
15
          l. 5/7/2014 I WENT OUT IN THE MORNING TO START THE CAR
16           AND IT WOULD NOT GO INTO REVERSE. THE GEAR STICK
             FELT STUCK AND I HAD TO HAVE MY HUSBAND COME
17           OUT AND PUT THE CAR INTO NEUTRAL AND ROLL THE
             CAR BACK SO WE COULD START IT IN FIRST. THIS
18           HAPPENED AGAIN ONE MONTH LATER, ONLY THE CAR
             WOULD NOT EVEN GO INTO FIRST GEAR. WE HAD IT
19           TOWED TO DEALER AND WERE TOLD WE HAD TO PAY
             FOR A NEW CLUTCH-IT WAS BURNED OUT. BURNED OUT
20           AT 18,000 MILES. WE PAID FOR A NEW CLUTCH, AND NOW
             4MTHS LATER, THE CAR IS DOING THE SAME THING.
21           PROBLEM GOING INTO REVERSE. DEALER CAN FIND
             NOTHING WRONG WITH IT-I AM SCARED THE CLUTCH
22           WILL BURN OUT AGAIN-NEVER KNOW WHEN THIS CAR
             WILL LEAVE ME STRANDED. WORST EXPERIENCE EVER.
23           *TR
24        m. 5/12/2014 WENT TO START MY CAR IN THE MORNING
             PUSHED THE CLUTCH TO THE FLOOR AND IT DID NOT
25           RETURN, JUST STAYED DEPRESSED AGAINST THE
             FLOORBOARD. TOOK IT TO THE DEALERSHIP AND THEY
26           SAID EVERYTHING IS FUNCTIONING AS DESIGNED. WELL
             ITS NOT! I CALLED CHRYSLER CUSTOMER SERVICE AND
27           THEY TOLD ME THE CLUTCH IS ONLY UNDER WARRANTY
             FOR 12000 MILES. MY PREVIOUS 3 CARS HAVE BEEN
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             MANUAL TRANSMISSIONS AND ALL WENT WELL OVER
 1           100000K WITHOUT ANY CLUTCH ISSUES. MY CAR NOW
             DOES THIS REGULARLY AT LEAST ONCE EVERY OTHER
 2           DAY. I AM EXTREMELY DISAPPOINTED IN DODGE AND
             THOUGHT THEY WERE "FOCUSING ON QUALITY". THE
 3           LACK OF CONCERN BY DODGE REGARDING THIS SAFETY
             ISSUE IS DOWNRIGHT DISGUSTING. AFTER SPEAKING
 4           WITH THE CUSTOMER SERVICE REP SHE STATED SHE
             WOULD CONTACT THE DEALERSHIP AND CALL ME
 5           TOMORROW. NO CALL, NO E-MAIL. THEN THEY HAVE THE
             NERVE TO SEND ME A SURVEY ON HOW WAS MY ISSUE
 6           RESOLVED. IT WASN'T THAT'S WHY YOU GOT ALL 1'S.
             WHY DON'T YOU ACTUALLY STAND BY YOUR PRODUCT?
 7           *TR
 8        n. 5/18/2014 WENT TO START MY CAR AND THE CLUTCH
             PEDAL WENT STRAIGHT TO THE FLOOR ALMOST LIKE IT
 9           HAD NO FLUID IN THE MASTER CYLINDER AFTER I
             STARTED THE CAR I HAD TO SIT THERE AND PUMP IT TO
10           FIND FEELING BEFORE I FELT COMFORTABLE DRIVING IT.
             THIS WAS STRANGE AS I PARK INSIDE A CLIMATE
11           CONTROLLED GARAGE AND THERE IS NOT ANY FLUID
             LEAKING ON THE GROUND. *JS
12
          o. 6/3/2014 ON MULTIPLE OCCASIONS, WORSE WHEN IT IS
13           HOT OUTSIDE, THE CLUTCH PEDAL WILL BE SOFT AND
             NOT COME UP OFF THE FLOOR. WHEN THE CLUTCH IS
14           SOFT, I AM NOT ABLE TO SHIFT IN OR OUT OF GEAR. IF
             THE ENGINE IS ON AND IN GEAR, YOU CANNOT PUMP THE
15           CLUTCH UNTIL THE VEHICLE IS OFF, OR IF YOU MANAGE
             TO GET IT INTO NEUTRAL. AS I PREFER TO PARK THE
16           VEHICLE IN GEAR, WHEN THE CLUTCH GOES SOFT, IT
             MAKES IT DIFFICULT, IF NOT IMPOSSIBLE, TO REMOVE
17           THE SHIFTER FROM GEAR TO PREVENT THE CAR FROM
             MOVING AND HITTING AN OBJECT. I HAVE ALMOST HIT A
18           CONCRETE PILLAR AND DRIVEN THROUGH MY GARAGE
             WHEN THIS HAPPENS. I GET THE FEELING THE CLUTCH IS
19           NOT FULLY DISENGAGED, DESPITE THE PEDAL STUCK ON
             THE FLOOR. WITHOUT PARKING IN GEAR, I RUN THE RISK
20           OF THE CAR ROLLING AWAY IF THE PARKING BRAKE
             FAILS. THERE HAVE BEEN NO LEAKS AND THE DEALER
21           HAS BEEN UNABLE TO LOCATE THE PROBLEM. *TR
22        p. 6/5/2014 FOR THE PAST YEAR AND A HALF MY CLUTCH
             HAS BEEN LOSING ALL RESISTANCE. THIS USUALLY
23           HAPPENS WHEN THE VEHICLE IS COLD AND AT TIMES I
             AM UNABLE TO PUT MY CAR INTO GEAR. SOMETIMES
24           THIS HAS HAPPENED WHILE AT STOP LIGHTS OR EVEN
             PULLING OUT INTO TRAFFIC. EVERY TIME I TAKE MY
25           VEHICLE TO THE DEALERSHIP AIM TOLD THERE IS
             NOTHING WRONG. EVENTUALLY THEY REPLACED MY
26           CLUTCH MASTER CYLINDER ABOUT 8 MONTHS AGO THE
             FIRST TIME. PROBLEM SEEMED TO RESOLVE THEN ABOUT
27           2 MONTHS AGO IT STARTED DOING IT AGAIN. WENT BACK
             TO THE DEALERSHIP AND TOLD NOTHING WAS WRONG.
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             AFTER MULTIPLE TRIPS TO DEALERSHIP THEY FINALLY
 1           AGREED TO REPLACE MASTER CYLINDER AND
             DISCOVERED THE SLAVE CYLINDER IS LEAKING. VEHICLE
 2           BACK IN THE SHOP FOR THE PAST WEEK REPLACING
             SLAVE CYLINDER. ANY PERSPECTIVE DART BUYERS OUT
 3           THERE, I REALLY CAUTION AGAINST THIS PURCHASE.
             THIS IS ONLY ONE OF MULTIPLE ISSUES I HAVE HAD. ON
 4           A SIDE NOTE, I PURCHASED THIS VEHICLE NEW IN JULY
             2012 WITH 120 MILES ON IT. SINCE THEN I HAVE HAD 2
 5           IGNITION COILS REPLACED, 2 CLUTCH MASTER
             CYLINDERS, SLAVE CYLINDER, 3 TURBOS, CATALYTIC
 6           CONVERTER ALL REPLACED. BUYER BEWARE. *TR
 7        q. 6/6/2014 I WENT TO MOVE MY CAR AND THE CLUTCH WAS
             STUCK TO THE FLOOR OF MY CAR. I COULD NOT GET IT IN
 8           OR OUT OF GEAR. SO FAR CHRYSLER HAS REPLACED THE
             ELECTRICAL/COMPUTER PART, THE PART FOR THE
 9           CLUTCH. I JUST FOUND OUT ABOUT THE RECALL FOR THE
             BRAKE AND TRANSMISSION. LAST MY DOOR IS DARKER
10           THEN THE REST OF THE CAR AND THEY ARE HAVING IT
             PAINTED. *TR
11
          r. 6/24/2014 2013 DODGE DART. CONSUMER WRITES IN
12           REGARDS TO TRANSMISSION MALFUNCTION, BROKEN
             TIRE SENSOR AND OTHER VEHICLE PROBLEMS. *SMD THE
13           CONSUMER STATED THE TRANSMISSION HAS BEEN ON
             GOING SINCE, THE FIRST DAY THE VEHICLE WAS
14           PURCHASED. APPARENTLY, IT WAS A FACTORY DEFAULT,
             THAT COULD NOT BE FIXED. THE TRANSMISSION DOWN
15           SHIFTED INTO SECOND GEAR, THE CLUTCH WOULD
             STICK, THE GEARS WERE GRINDING WHEN IN REVERSE
16           AND A METALLIC NOISE WAS HEARD WHEN DOWN
             SHIFTING IN ANY GEAR THE DEALER REPLACED THE
17           SECOND GEAR AND SYNCHRONIZERS. THE SUN VISOR NO
             LONGER STAYED IN ITS POSITION.
18
          s. 7/1/2014 I HAVE FILED A COMPLAINT IN SEPT. 2013 THE
19           INCIDENT NUMBER WAS 10542516. I MY VEHICLE WAS
             TOWED TO THE NEAREST DEALERSHIP FOR REPAIR. THE
20           CLUTCH PEDAL WOULD NOT RETURN ONCE DEPRESSED.
             IT WAS DETERMINED THAT IT WAS THE SLAVE
21           CYLINDER. THAT WAS REPLACED, TAKING OVER A WEEK.
             THE REMEDIED THE PROBLEM UNTIL THE END OF JUNE
22           2014 WHEN THE CAR BEGAN DISPLAYING THE SAME
             PROBLEM. I WAS GETTING ON THE INTERSTATE AND
23           WENT TO SHIFT FROM 2ND TO 3RD AND THE CLUTCH
             PEDAL REMAINED DEPRESSED ONCE AGAIN. NOT HAVING
24           POWER AT THIS KEY POINT OF ACCELERATION WAS
             DANGEROUS AND I WAS ALMOST REAR ENDED BY A
25           SEMI. I TOOK THE CAR TO A DEALERSHIP ONCE AGAIN
             AND IT WAS DETERMINED THE SLAVE CYLINDER WAS
26           THE PROBLEM ONCE AGAIN. I THINK THIS REALLY NEEDS
             TO BE EXAMINED AS IT CREATES A SERIOUS POTENTIAL
27           FOR INJURY. *TR
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          t. 7/3/2014 CLUTCH PEDAL DOES NOT RETURN FROM
 1           DEPRESSED POSITION. CLUTCH PEDAL IS SOFT AND
             CLUTCH MECHANISM DOES NOT FUNCTION PROPERLY
 2           FOR A FEW MINUTES OF INITIAL OPERATION. AFTER THE
             INITIAL INCIDENT THIS PROBLEM HAS BECOME MORE
 3           FREQUENT AND NOW OCCURS ALMOST DAILY. *TR
 4        u. 7/7/2014 I WAS ACCELERATING FROM A STOPPED
             POSITION AND WAS SHIFTING INTO FOURTH GEAR WHEN
 5           THE CLUTCH PEDAL STAYED DEPRESSED TO THE FLOOR. I
             HAVE HAD THIS CAR BACK FROM THE DEALER 10 DAYS.
 6           IT WAS IN THE SERVICE DEPARTMENT TO CORRECT THE
             SAME PROBLEM. THIS IS THE THIRD TIME THIS CAR HAS
 7           DONE THIS. THE CASE NUMBERS FOR THE FIRST TWO ARE
             10542516 AND 10607620. LIKE THE SECOND EPISODE, I WAS
 8           LEFT IN A VULNERABLE SITUATION IN WHICH I WAS
             ALMOST HIT. THE LANES TAPER FROM TWO DOWN TO
 9           ONE AND I WAS IN THE INSIDE LANE COMING OUT OF THE
             TAPER. A TRUCK COMING UP FROM BEHIND WAS
10           UNAWARE TO THE SLOW SPEED OF MY CAR AND I WAS
             NOT ABLE TO ACCELERATE. HE WAS ABLE TO SWERVE
11           ACROSS THE NO PASSING LINES INTO ANOTHER LANE
             AND AVOID HITTING THE BACK OF MY CAR. I WAS ABLE
12           TO COAST TO NEXT CROSS ROAD AND JUST MAKE IT OFF
             THE STATE HIGHWAY. MY VEHICLE WAS TOWED BACK
13           TO THE DEALERSHIP. *JS
14        v. 7/9/2014 DRIVING AT A AVERAGE SPEED OF 60-70 WHEN
             PASSING ON THE HWY MY CLUTCH PEDAL WAS STUCK TO
15           THE FLOOR AND I HAD TO PULL IT OUT WITH MY FOOT TO
             CHANGE GEARS. THIS NOW HAS STARTED HAPPENING ON
16           TAKE OFFS NOW. THE DEALER HAS ALL READY REPLACE
             IT ONCE AND IT IS STILL HAVING THE SAME ISSUE.
17           APPARENTLY THE PART IS ON BACK ORDER BECAUSE
             THEY CAN NOT KEEP ENOUGH IN STOCK FOR THE CARS
18           THAT ARE HAVING THIS REPLACED. IT TOOK 21 DAYS IN
             ORDER FOR MY PART TO ARRIVE AT THE DEALERSHIP.
19           NOW I HAVE TO WAIT LONGER FOR A NEW ONE TO
             REPLACE THE ONE THAT WAS PUT IN. THIS CAN CAUSE A
20           SERIOUS ISSUE ALMOST LIFE THREATENING BECAUSE
             YOU COULD BE PULLING OUT INTO TRAFFIC AND GOD
21           FORBID YOU CAN'T REACT FAST ENOUGH. *JS
22        w. 8/29/2014 THE CLUTCH PEDAL STUCK TO THE FLOOR
             PREVENTING ME FROM BEING ABLE TO SHIFT OUT OF
23           GEAR OR DISENGAGE THE ENGINE FROM THE
             TRANSMISSION. BECAUSE I AM A MECHANIC I WAS ABLE
24           TO AVOID A CRASH. THIS IS A COMPLEX ISSUE AND MOST
             CONSUMERS WILL FREAK OUT IF THEY CAN NOT PUT
25           THERE VEHICLE IN NEUTRAL AND THE ENGINE STALLS
             FROM THEM TRYING TO USE THE BRAKES. *TR
26
          x. 10/14/2014 MY FOOT WAS ON MY CLUTCH AND BRAKE I
27           THEN STARED THE CAR....THE CAR LUNGE FORWARD
             INTO SOME BUSHES .. AFTER THAT THE CLUTCH STAYED
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             ON THE FLOOR UNABLE TO SHIFT IN REVERSE TILL I
 1           PUMPED BRAKE AND CLUTCH I ACTUALLY LIFTED THE
             CLUTCH UP WITH MY FOOT TO USE IT TO SHIFT. *TR
 2
          y. 1/13/2015 TL* THE CONTACT OWNS A 2013 DODGE DART.
 3           UPON STARTING THE VEHICLE OR DURING COLD
             WEATHER TEMPERATURES, THE CLUTCH FAILED TO
 4           SHIFT PROPERLY. THE CONTACT MENTIONED THAT THE
             CLUTCH NEEDED TO BE PUMPED IN ORDER TO SHIFT
 5           PROPERLY. THE VEHICLE WAS TAKEN TO DEALER WHERE
             THE FAILURE WAS UNABLE TO BE DUPLICATED. THE
 6           VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS
             MADE AWARE OF THE FAILURE. THE APPROXIMATE
 7           FAILURE MILEAGE WAS 12,000.
 8        z. 1/22/2015 I WAS DRIVING AT ABOUT 40 MPH AND
             ABRUPTLY THE ENGINE STALLED AND THE CLUTCH
 9           WENT TO THE FLOOR AND THE VEHICLE REFUSED TO
             CHANGED GEARS OR MOVE. I ALLOWED IT TO VEER TO
10           THE SIDE TO ESCAPE BEING REAR ENDED OR CRASHED
             FROM BEHIND. I HAD NO CONTROL OF THIS CAR. *TR
11
          aa. 2/19/2015 PURCHASED CAR BRAND NEW. HAVE DRIVEN
12            MANUAL TRANSMISSIONS FOR 40 YEARS AND HAVE
              NEVER RUINED A CLUTCH OR ANY PART OF THE
13            TRANSMISSION. I WAS DRIVING ALL THE ROAD AND
              GOING UP A HILL AND ATTEMPTED TO DOWNSHIFT TO
14            GET UP THE STEEP HILL. THE CLUTCH WENT DOWN TO
              THE FLOOR AND THE SHIFTER WOULDN'T ALLOW ANY
15            SHIFTING. I VEERED OFF THE ROAD AND CALL TOW
              TRUCK. I HAD CAR TOWED TO LANDMARK DODGE,
16            MORROW, GA 30260, AND AFTER WEEKS THEY SAY THE
              ENTIRE TRANSMISSION WAS BURNED UP AND BROKEN
17            INTO PIECES?? WELL, 1ST WEEK THEY ORDERED WRONG
              PART, 3 WEEK THEY SAID THEY HAD TO REMOVE THE
18            ENTIRE TRANSMISSION AND TODAY (4 WEEKS LATER)
              THEY SAID THEY FEEL IT IS A CASE OF CUSTOMER ABUSE
19            AND WANT 1500.00 TO REPAIR. I TOLD THEM UP FRONT A
              CERTIFIED TECHNICIAN LOOKED AT THE ISSUE PRIOR TO
20            ME HAVING PULLED TO THEM AND HE SAID, "THIS IS
              DEFECTIVE". HE ALSO PRINTED OUT INFO FROM THE
21            INTERNET OF OTHER DODGE DART 2012-2013 WITH THE
              VERY SAME ISSUE. CLUTCH TO THE FLOOR, AND EVEN A
22            CLASS ACTION SUIT. I WILL HAVE TO GET IT FIXED
23        bb.4/15/2015 CLUTCH WENT COMPLETELY TO THE FLOOR
             AND HAD TO VEER CAR INTO A TERRAIN IN ORDER TO
24           AVOID BEING RUN OVER BY DUMP TRUCK DIRECTLY
             BEHIND. THERE WAS NO WARNING AND CAR IS FAIRLY
25           NEW. (WAS PURCHASED NEW). QUICK INVESTIGATION,
             AND THERE IS A LAW SUIT WITH CHRYSLER INDICATING
26           THEY ARE AWARE OF THIS DEFECT BUT THEIR
             DEALERSHIPS ARE NOT AND REFUSED TO REPAIR
27           WITHOUT CHARGING. INSISTED I TAKE CAR TO ANOTHER
             PLACE THAT REALLY WORKS ON DODGES (???). THIS LOST
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             OF GEAR SHIFTING IS GOING TO GET SOMEONE KILLED!
 1           UNFORTUNATELY IT IS HARD TO REACH ME BY
             TELEPHONE BUT I WOULD REALLY LIKE TO HAVE SOME
 2           DETAILS AS TO HOW TO HANDLE THIS ISSUE. I HAD AN
             INDEPENDENT DEALER "WHO REALLY WORKS ON
 3           DODGES" TO REPAIR AND THEY CONFIRMED THE CLUTCH
             WAS DEFECTIVE AND CAUSED IT TO CRASH AND BURN.
 4           I'M NOT THE ONLY ONE WHO HAS EXPERIENCED THIS.
 5        cc. 5/13/2015 I WENT TO GET IN MY CAR TO GO TO WORK AND
              WHEN I STARTED MY CAR THE CLUTCH PEDAL WENT TO
 6            THE FLOOR AND WOULD NOT COME BACK UP. THE
              VEHICLE GOT STUCK IN FIRST GEAR UNTILL I MANUALLY
 7            BENT DOWN AND PULLED THE CLUTCH PEDAL UP AND
              TURNED THE CAR OFF SEVERAL TIMES. WHEN I SOPKE TO
 8            DODGE THEY ACTED LIKE THEY HAD NEVER HEARD OF
              THIS ISSUE (WHICH I KNOW IS NOT TRUE FROM VARIOUS
 9            FORUMS AND COMPLAINTS IVE SEEN). NOW I AM
              WORRIED ABOUT THE SAFTEY OF THE CAR BECASUE IF
10            THIS HAPPENS WHILE IM ON THE ROAD AND NOT PARKED
              I OR SOMEONE COULD GET SERIOUSLY INJURED. THE
11            DODGE DEALER I SPOKE WITH SAID TO FIX THE ISSUE I
              WOULD HAVE TO REPLACE THE MASTER CYLINDER,
12            SLAVE CYLINDER, AND REPLACE THE CLUTCH. I DONT
              FEEL I SHOULD HAVE TO WORRY ABOUT THIS THERE
13            SHOULD BE A RECALL ISSUED.
14        dd.5/20/2015 CLUTCH PEDAL DEPRESSED AND WOULD NOT
             RETURN TO NORMAL POSITION. PRESSING DOWN ON
15           CLUTCH PEDAL WOULD NOT DISENGAGE THE CLUTCH
             FROM THE FLYWHEEL SO CONTINUED TO ATTEMPT TO
16           MOVE FORWARD REQUIRING FOOT MORE STRONGLY ON
             THE BRAKES. THIS WASN'T THE ONLY TIME, AND SEEMS
17           TO OCCUR AFTER THE VEHICLE HAS BEEN SITTING A FEW
             HOURS. ITS GETTING FREQUENT ENOUGH THAT I'M
18           GOING TO TRY TO TRADE THE VEHICLE IN. I DON'T TRUST
             CHRYSLER/DODGE PRODUCTS ANY MORE AND THEIR
19           QUALITY IS GOING DOWN HILL WITH THEIR DRIVE BY
             WIRE VEHICLES. FOR THE RECORD, 90% OF MY MILEAGE
20           IS ALL HIGHWAY AND I DON'T "POP" THE CLUTCH TO
             PEAL OUT AT STOP LIGHTS AND THE LIKE. SEARCHES OF
21           THE INTERNET ARE FINDING MORE AND MORE POSTS
             WITH CLUTCH AND TRANSMISSION PROBLEMS.
22
          ee. 6/3/2015 WHEN FIRST STARTED ON A COOL OR COLD
23            MORNING, THE CLUTCH ON THE 2013 DODGE DART WILL
              NOT HAVE ANY PRESSURE AND STICK TO THE FLOOR.
24            THE CLUTCH PEDDLE WOULD HAVE TO BE PHYSICALLY
              PULLED UP FROM THE FLOOR AND PUMPED TO DEVELOP
25            ANY PEDDLE. THE VEHICLE WAS TAKEN TO THE DEALER
              THAT COULD NOT REPLICATE THE PROBLEM NOR WOULD
26            MAKE ANY INDICATION TO MAKE THE REPAIR. THE NEXT
              WEEK (AROUND MAY 18, 2015), THE MANUAL
27            TRANSMISSION WAS PARKED IN FIRST GEAR AND WHEN
              THE CLUTCH WAS DEPRESSED, THERE WAS LITTLE TO NO
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             PEDDLE. THE CAR STARTED AND BEGAN TO LUNGE
 1           FORWARD AND STOPPED. THE CLUTCH ALMOST STUCK
             TO THE FLOOR. . OTHER TIMES, THE CAR IS PARKED IN
 2           NEUTRAL AND THE CAR WILL NOT ALLOW THE DRIVER
             TO SHIFT INTO GEAR. THERE IS FLUID VISIBLE ON TOP OF
 3           THE TRANSMISSION WHICH IS SUSPECTED BY THE
             OWNER TO BE FROM THE HYDRAULIC CLUTCH.
 4           CHRYSLER IS AWARE OF THIS PROBLEM AND ARE BEING
             SUED IN THE STATE OF CALIFORNIA OVER OTHER
 5           CLAIMS. THIS IS A SAFETY ISSUE WITH THESE CARS AND
             THE VOLUME OF COMPLAINTS FOR THE SAME ISSUE IS
 6           INDICATIVE OF A LARGER PROBLEM.
 7        ff. 6/8/2015 TL* THE CONTACT OWNS A 2013 DODGE DART.
              WHILE DRIVING AT APPROXIMATELY 50 MPH, THE
 8            CLUTCH PEDAL WAS DEPRESSED AND FAILED TO
              RESPOND WITHOUT WARNING. THE VEHICLE WAS TAKEN
 9            TO A DEALER WHERE IT WAS DIAGNOSED THAT THE
              MASTER SLAVE CYLINDER NEEDED TO BE REPLACED.
10            THE VEHICLE WAS REPAIRED HOWEVER, THE FAILURE
              RECURRED. THE MANUFACTURER WAS NOTIFIED OF THE
11            FAILURE. THE FAILURE MILEAGE WAS 1,200.
12        gg.6/8/2015 TL* THE CONTACT OWNS A 2013 DODGE DART.
             WHILE REVERSING OUT OF A PARKING LOT AT 5 MPH,
13           THE CLUTCH FAILED TO SHIFT OUT OF REVERSE TO GO
             INTO FIRST GEAR. THE FAILURE RECURRED ONCE. THE
14           VEHICLE WAS TAKEN TO A DEALER, BUT WAS NOT
             DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS
15           MADE AWARE OF THE FAILURE. THE FAILURE MILEAGE
             WAS 24,000.
16
          hh.6/10/2015 2013 DART 2.0 LITER, 6 SPEED MANUAL TRANS.
17           CLUTCH PEDAL GOES TO FLOOR WITH NO RESISTANCE
             AND WILL NOT DISENGAGE CLUTCH. PULLING THE PEDAL
18           UP WITH FOOT AND PUMPING IT RESTORES FUNCTION
             UNTIL THE CAR IS PARKED AT WHICH TIME, THE SYSTEM
19           BLEEDS DOWN AGAIN AND THE PEDAL GOES TO THE
             FLOOR WITHOUT DISENGAGING THE CLUTCH. PROBLEM
20           IS MARKEDLY WORSE IN HOT WEATHER. RESPONSE FROM
             CHRYSLER ON RECTIFICATION ACTION IS AWAITING
21           FOLLOWING INQUIRY BY MYSELF.
22        ii. 6/12/2015 I WENT AND ATTEMPTED TO START THE CAR.
              CAR WOULD NOT START. IT WAS LIKE THE CLUTCH
23            WOULD NOT ENGAGE. RELEASED THE CLUTCH AND RE-
              ENGAGED, AND IT STARTED. DURING SHIFTS, IT DIDNT
24            WANT TO GO INTO 3 OR 6TH GEARS. IT WAS LIKE THE
              CLUTCH IS NOT ENGAGING ONCE AGAIN. TOOK THE CAR
25            BACK TO WHERE I PURCHASED IT, PERFORMANCE
              DODGE, AND THEY TOLD ME THAT CHRYSLER KNOWS OF
26            THE ISSUE BUT CHRYSLER STAR WILL NOT FIX IT. I
              ASKED HOW CAN THEY KNOW THAT THE CLUTCH HAS
27            ISSUES, BUT THEY ARE NOT GOING TO FIX IT. THE
              EMPLOYEE INFORMED ME THAT THEY ALL ARE LIKE
28
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             THIS. CHRYSLER KNOWS OF THE CLUTCH ISSUES DUE TO
 1           ALL THE COMPLAINTS, BUT THEY STILL RISK THE LIVES
             OF THE INDIVIDUALS WHO PURCHASED THE VEHICLE BY
 2           NOT REPLACING THE CLUTCH. I HAVE ALSO HAD ISSUES
             WITH MY WINDOWS NOT ROLLING UP OR DOWN AND THE
 3           RADIO KEEPS RESETTING ITSELF. THEY DO UPDATES, BUT
             IT DOES NOT FIX THE RADIO ISSUE. THE LAST TIME I
 4           TOOK IT FOR THE UPDATE, THE UPDATE WOULDNT EVEN
             LOAD TO FIX THE ISSUE. HOW CAN A COMPANY KNOW OF
 5           ISSUES BUT REFUSE TO FIX THEM?
 6        jj. 6/14/2015 I DEPRESSED THE CLUTCH TO START THE
              ENGINE AND WHEN IT STARTED THE CAR BEGAN TO
 7            MOVE EVEN THOUGH THE CLUTCH PEDAL WAS FULLY
              DEPRESSED. I HAD TO TURN THE ENGINE OFF TO STOP
 8            THE CAR FROM MOVING AND THE CLUTCH PEDAL
              REMAINED ON THE FLOOR. AFTER A FEW MORE
 9            ATTEMPTS IT STARTED TO WORK CORRECTLY. IT NOW
              DOES THIS EVERY TIME IT IS PARKED FOR A FEW HOURS.
10            VERY DANGEROUS DEFECT THAT NEEDS TO BE
              RECALLED BY CHRYSLER.
11
          kk.6/20/2015 CLUTCH PEDAL KEPT GETTING STUCK IN
12           POSITION AND WOULD NOT DISENGAGE.
13        ll. 7/20/2015 WHEN GETTING INTO MY CAR IN THE MORNING
              OR AFTER WORK (ANY TIME THE CAR HAS BEEN SITTING
14            FOR A WHILE), THE CLUTCH PEDAL GOES STRAIGHT TO
              THE FLOOR AND DOESN'T COME BACK UP. I CANNOT PUT
15            MY CAR INTO GEAR OR EVEN START THE CAR. I HAVE TO
              PUMP THE CLUTCH PEDAL FOR A FEW MINUTES UNTIL I
16            HAVE A LITTLE PRESSURE TO EVEN START MY CAR. MY
              CAR STALLED OUT TWICE FROM THIS WHEN ENTERING A
17            PARKING GARAGE AND I ALMOST HIT ANOTHER CAR
              BECAUSE OF THIS. AFTER DRIVING THE CAR FOR 2-3
18            MILES THE CLUTCH SEEMS TO COME BACK TO NORMAL
              PRESSURE AND I CAN SHIFT FINE AT THAT POINT.
19
          mm. 7/27/2015 I HAVE A 2013 DODGE DART RALLYE. I
20          BOUGHT IT USED IN JANUARY 2015. IT HAS THE 1.4 MULTI
            AIR TURBO WITH 6 SPD MANUAL TRANSMISSION. MY
21          PROBLEM IS JUST ABOUT EVERY MORNING OR AFTER
            THE CAR SETS FOR A FEW HOURS WHEN I TRY TO START
22          THE CAR I PUSH THE CLUTCH PEDAL IN TO START THE
            CAR AND I GO TO PUT THE CAR IN GEAR AND IT WON'T
23          GO IN GEAR WITH MY CLUTCH PEDAL TO THE FLOOR AND
            THE CAR TRYS TO MOVE WHEN I TRY TO PUT IT IN GEAR
24          SO I LET OFF THE CLUTCH AND IT STICKS HALF WAY TO
            THE FLOOR SO I HAVE TO PUMP IT FOR ABOUT 2 MINUTES
25          OR UNTIL THE CAR WARMS UP JUST TO PUT IT IN GEAR I
            DID RESEARCH ON THIS AND APAIRENTLY ALOT OF
26          PEOPLE WITH THIS CAR HAVE BEEN HAVING THIS SAME
            PROBLEM AND CHRYSLER WANTS TO CHARGE ME JUST
27          TO TAKE A LOOK AT IT BECAUSE IT IS OUT OF
            WARRANTY THIS ISSUE REALLY NEEDS TO BE LOOKED
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             INTO.
 1
          nn.8/6/2015 INTERMITTENTLY, THE CLUTCH PEDAL HAD
 2           DROPPED TO THE FLOOR WHEN DEPRESSED AND NOT
             RETURNING WITHOUT PUMPING THE PEDAL PRIOR TO
 3           STARTING THE ENGINE. THIS WAS BECOMING COMMON
             AFTER THE CAR WAS NOT IN OPERATION OVERNIGHT
 4           BUT ON 6-AUG-15 THE WHILE DRIVING AT HIGHWAY
             SPEEDS PRIOR TO EXITING A LIMITED ACCESS HIGHWAY
 5           WITH THE PEDAL DEPRESSED TO THE FLOOR THE ENGINE
             DID NOT DISENGAGE FROM THE TRANSMISSION OR
 6           ALLOW THE SHIFTER TO BE MOVE OUT OF GEAR. IT
             REQUIRED THE PEDAL TO BE PULLED UP MANUALLY
 7           WITH THE TOE OF MY SHOE AND PUMPED BEFORE IT
             ACTUATED THE CLUTCH AND ALLOWED THE CAR TO
 8           STOP. AN ACCIDENT WAS NARROWLY AVOIDED ON
             INTERSTATE 495 DUE TO THIS FAILURE. CHRYSLER WAS
 9           CONTACTED REGARDING THE SERVICE BULLETIN M37,
             TRANSAXIAL SLAVE VALVE DEFECT AND THEY SAID THIS
10           IS A LISTED ISSUE FOR THE CAR/ENGINE BUT NOT FOR
             THIS    VIN.  REGARDLESS    OF   THE   BULLETIN'S
11           "COMMITMENT TO SAFETY" THEY WOULD NOT COVER
             ANY TOWING OR REPAIR.
12
          oo.8/6/2015 WHEN TRYING TO START THE CAR THE CLUTCH
13           PEDAL WILL GET STUCK DOWN AND NOT ENGAGE. IF
             THIS HAPPENS WHEN DRIVING IT COULD CAUSE AN
14           ACCIDENT.
15        pp.8/14/2015 WHEN I WENT TO TURN MY CAR ON, WHICH IS A
             MANUAL, MY CLUTCH PEDAL STAYED ENGAGED AND
16           WOULD NOT RELEASE AND MY CAR WOULD NOT TURN
             OFF. I COULD NOT TURN THE KEY TO TURN THE CAR OFF.
17           I HAD TO WAIT A FEW MINUTES BEFORE THE CLUTCH
             RELEASED AND I WAS FINALLY ABLE TO TURN MY CAR
18           OFF. WHEN I TRIED AGAIN TO TURN MY CAR ON THE
             CLUTCH PEDAL ONCE AGAIN STAYED ENGAGED AND
19           WOULD NOT RELEASE BUT I WAS ABLE TO TURN MY CAR
             OFF THE SECOND TIME. AND TRY AGAIN AND AGAIN
20           UNTIL THE CLUTCH WOULD RETURN AFTER I TURNED
             THE CAR ON
21
          qq.8/26/2015 WHEN TRYING TO START THE CAR, THE CLUTCH
22           PEDAL WILL GET STUCK DOWN AND NOT ENGAGE
             INTERMITTENTLY. THE CLUTCH PEDAL DROPS TO THE
23           FLOOR WHEN DEPRESSED AND NOT RETURNING
             WITHOUT PUMPING THE PEDAL PRIOR TO STARTING THE
24           ENGINE. THIS IS BECOMING COMMON AFTER THE CAR IS
             NOT IN OPERATION OVERNIGHT
25
          rr. 8/27/2015 THIS HAS BEEN AN ONGOING-INTERMITTENT
26            PROBLEM/ISSUE. THE HYDRAULIC CLUTCH SYSTEM
              (MANUAL TRANS) WILL LOSE PRESSURE WHICH MEANS
27            THAT THE CLUTCH PEDAL WILL GO TO THE FLOOR AND I
              CAN'T SHIFT THE TRANSMISSION. AT TIMES IT IS ONLY
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             DOING THIS FIRST THING IN THE MORNING BUT WILL GET
 1           PRESSURE AFTER "PUMPING IT UP" A FEW TIMES. IT WILL
             LOSE PRESSURE AFTER DRIVING FOR A PERIOD OF 15-20
 2           MINUTES MEANING THAT WHEN COMING TO A STOP I AM
             UNABLE TO DOWNSHIFT. ONCE STOPPED, WHEN IT HAS
 3           LOST PRESSURE, IF YOU LEAVE THE TRANSMISSION IN
             FIRST GEAR, OR REVERSE, IT WILL MOVE WHEN THE
 4           IGNITION KEY IS PUT INTO THE START MODE WHEN THE
             CLUTCH PEDAL IS FULLY DEPRESSED! THERE HAVE
 5           NEVER BEEN ANY FLUID LEAKS OR SIGNS THAT THE
             LEVEL HAS GONE DOWN. I HAVE SEEN ON A DODGE DART
 6           OWNERS WEBSITE THAT THIS IS A PROBLEM THAT
             OTHERS HAVE HAD AS WELL.
 7
          ss. 9/29/2015 ONGOING CLUTCH/HYDRAULIC PROBLEMS
 8            HAVE CAUSED ME TO BE IN SEVERAL UNSAFE
              SITUATIONS. FIRST SAFETY CONCERN WAS DUE TO CAR
 9            STALLING WHEN ATTEMPTING TO ACCELERATE FROM A
              STOP. THERE WERE SEVERAL TIMES THAT IMPROPER
10            CLUTCH ENGAGEMENT CAUSED THE CAR TO JERK AND
              DIE AT A STOP. SECOND CONCERN WAS FROM
11            DIFFICULTY SHIFTING GEARS IN STOP AND GO TRAFFIC
              DUE TO CLUTCH NOT ENGAGING FULLY. THIRD CONCERN
12            WAS FROM TOTAL SYSTEM FAILURE (19426 MILES):
              EXITED INTERSTATE HIGHWAY AND DEPRESSED CLUTCH
13            TO SHIFT TO NEUTRAL. WHILE DEPRESSING THE CLUTCH I
              HEARD A LOUD POP/CLUNK SOUND AND THE CLUTCH
14            INSTANTLY DROPPED TO THE FLOOR. I THEN STARTED
              SMELLING THE CLUTCH BURNING AND HAD NO ABILITY
15            TO SHIFT OR ENGAGE GEARS. I WAS LEFT IN THE MIDDLE
              OF THE ROADWAY AND HAD TO PUSH MY VEHICLE TO A
16            SAFE LOCATION ON THE SHOULDER OF THE ROAD
              THANKS TO THE HELP OF SOME PEOPLE THAT STOPPED.
17            AFTER TOWING THE VEHICLE TO THE DEALERSHIP FOR
              REPAIR, I WAS TOLD THE FLYWHEEL, PRESSURE PLATE,
18            AND CLUTCH NEEDED TO BE REPLACED (19,426 MILES).
              FOURTH CONCERN WAS A FAILURE OF THE CLUTCH
19            (APPROX 34,735 MILES): AFTER BACKING OUT OF A
              DRIVEWAY THE CLUTCH STUCK TO THE FLOOR AND
20            WOULD NOT RETURN TO THE NORMAL POSITION
              CAUSING THE INABILITY TO SHIFT. AFTER RESTARTING
21            VEHICLE I HAD TO LIFT CLUTCH BY HAND AND PUMP
              CLUTCH TO REGAIN HYDRAULIC PRESSURE. I WAS TOLD
22            CLUTCH HAD FAILED AND WAS BLAMED FOR FAILURE
              FROM RIDING CLUTCH MILEAGE PROBLEMS FIRST
23            REPORTED (I CONTINUED TO MENTION PROBLEMS ON
              LATER VISITS): 1555 - NOISE RELEASING CLUTCH 2072 -
24            RESISTANCE AND ENGAGEMENT CHANGING IN THE
              CLUTCH MILEAGE/REPAIRS MADE: 5905 - MASTER
25            CYLINDER/ACTUATOR REPLACED 19426 - CLUTCH,
              PRESSURE PLATE, AND FLYWHEEL REPLACED 34747 -
26            CLUTCH, PRESSURE PLATE, FLYWHEEL, AND SLAVE
              CYLINDER REPLACED (AWAITING AMENDED REPAIR
27            ORDER) AFTER LATEST REPAIR THE CAR IS BACK IN SHOP
              DUE TO RETURNED HYDRAULIC PRESSURE VARIANCE
28
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          tt. 12/4/2015 I HAVE A 2013 DODGE DART. AFTER 2 YEARS,
 1            THE CLUTCH SUDDENLY STUCK TO THE FLOOR, THE
              VEHICLE INOPERABLE; IT NEEDED A NEW MASTER
 2            CYLINDER. A FEW MONTHS LATER, I STARTED NOTICING
              IT STICKING AGAIN, BUT IT COULD BE PULLED OUT BY
 3            USING MY FOOT TO POP IT BACK OUT. SO I PROMPTLY
              TOOK IT TO THE DEALER. THEY SAID EVERYTHING WAS
 4            NORMAL. LAST MONTH, THE CLUTCH WENT OUT AGAIN.
              HAD TO BE TOWED TO THE DEALER. NOW IT SEEMS THEY
 5            ARE REPLACING THE ENTIRE CLUTCH KIT. TOLD ME THE
              FLYWHEEL WAS COMPLETELY BURNED OUT. AND TRIED
 6            TO BLAME MY DRIVING, SAYING THE FLYWHEEL WAS
              NORMAL WHEN THEY EVALUATED IT. NO WAY, DODGE.
 7            NOW THEY'VE HAD MY CAR SINCE NOVEMBER 16TH,
              TODAY BEING DEC. 3, AND IT STILL WON'T BE FIXED
 8            UNTIL WELL INTO NEXT WEEK. AND THE RENTAL CAR IS
              OUT OF MY POCKET.
 9
          uu.12/23/2015 CAME UP TO A STOP SIGN, DROVE OFF AND
10           WENT TO SHIFT INTO 2ND (STANDARD TRANSMISSION)
             AND MY SHIFTER WAS LOOSE. GEAR IS STUCK IN FIRST.
11
          vv.1/4/2016 CLUTCH PEDAL DOES NOT RETURN FROM
12           DEPRESSED POSITION. CLUTCH PEDAL IS SOFT AND
             CLUTCH MECHANISM DOES NOT FUNCTION PROPERLY
13           FOR A FEW MINUTES OF INITIAL OPERATION. AFTER THE
             INITIAL INCIDENT THIS PROBLEM HAS BECOME MORE
14           FREQUENT AND NOW OCCURS ALMOST DAILY.
15        ww. 1/26/2016 1) SLAVE CYLINDER IN TRANSMISSION
            (MANUAL) BEGAN FAILING AT 12,000 MILES, CAUSING
16          CLUTCH PEDAL TO LOSE PRESSURE AND NOT RETURN TO
            TOP OF TRAVEL. UNABLE TO SHIFT INTO ANY GEAR. THIS
17          OCCURRED WHEN PARKED OVERNIGHT. DEALERSHIP
            REPLACED SLAVE CYLINDER, CLUTCH, AND THROW OUT
18          BEARING WITH NO CHARGE.
19        xx.2/10/2016 CAR SHIFTS OUT OF GEAR, HAS LITTLE POWER,
             SERVICE LIGHT COMES ON ,WILL NOT START AT TIMES,
20           TAKEN TO DEALERS FOR RECALL R42 TWICE PARTS NOT
             AVAILABLE. NOW THEY ARE SAYING A WHOLE NEW
21           TRANSMISSION IS NEEDED AT A COST OF OVER 8
             THOUSAND DOLLARS. CLUTCH PLATE CRACKED AND FLY
22           WHEEL DAMAGED. TRYING TO BLAME MY DRIVING, HAD
             TO BE TOWED.
23
          yy.3/4/2016 I GOT 2013 DODGE DART 1.4L TURBO 6 SPEED
24           MANUAL AND EVERY MORNING WHEN LEAVE FOR WORK
             CLUTCH PEDAL GOES TO FLOOR AND HAVE TO PUMP IT
25           GOOD BIT JUST TO GET IT TO CHANGE GEARS. STARTED
             CAR IN REVERSE AND CAR TAKES OFF WHILE ENGINE IS
26           TURNING OVER. AND ON HIGHWAY IF STAY IN SAME
             GEAR FOR LONG PERIODS OF TIME IT WILL NOT COME
27           OUT GEAR AND BEEN TO DEALERSHIP 2 TIMES FOR THIS
             AND THEY SAY NOTHING WRONG
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     2014 Dodge Dart
 1
          a. 9/12/2014 TL* THE CONTACT OWNS A 2014 DODGE DART.
 2           WHILE DRIVING APPROXIMATELY 10 MPH, THE CLUTCH
             BECAME STUCK IN THE DOWNWARD POSITION AND THE
 3           GEAR SHIFTER WAS STUCK IN FIRST GEAR. THE CONTACT
             HAD TO DEPRESS THE CLUTCH COMPLETELY DOWN TO
 4           THE FLOORBOARD TO LOOSEN THE CLUTCH, FOLLOWED
             BY AGGRESSIVELY PULLING THE GEAR SHIFTER TO GET
 5           IT OUT OF FIRST POSITION. THE VEHICLE WAS NOT
             DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS
 6           NOT NOTIFIED. THE VIN WAS UNAVAILABLE. THE
             APPROXIMATE FAILURE MILEAGE WAS 33,000.
 7
          b. 1/29/2015 THE CLUTCH PEDAL WOULD STICK TO THE
 8           FLOOR IN COLD WEATHER. WOULD EASILY STALL
             BECAUSE OF POOR ENGAGEMENT. SOMETIMES THE CAR
 9           WOULD BUCK OR STUTTER BECAUSE THE CLUTCH
             WOULD NOT BE ABLE TO EFFECTIVELY ENGAGE.
10           SOMETIMES     THE   VEHICLE   WOULD    STALL   ON
             ENGAGEMENT AND HAVE TO SIT FOR SEVERAL MINUTES
11           BEFORE THE ENGINE WOULD START. AFTER AN
             ATTEMPTED REPAIR TO THE CLUTCH HYDRAULICS BY
12           CORWIN THE CLUTCH STILL HAS SLOP IN IT AND POOR
             WORKSMANSHIP WAS FOUND AT ANOTHER DEALER. THE
13           TRANSMISSION IS NOW NOISY AND MAKES LOUD
             CLUNKING OR WHINING NOISES WHEN THE CLUTCH IS
14           ENGAGED OR DISENGAGED. THE CLUTCH WILL STILL
             PARTIALLY STICK TO THE FLOOR IN SEVERE COLD AND IS
15           NOT SAFE TO DRIVE. *TR
16        c. 4/9/2015 PURCHASED A 2014 DODGE DART USED WITH A 6
             SPEED. THIS INCIDENT HAPPENED JUST THREE WEEKS
17           AFTER I PURCHASED IT. I NOTICED IT STARTED TO SLIP
             AND WHILE DRIVING DOWN THE HIGHWAY I HEARD A
18           NOISE, CAR LOST POWER AND SMOKE STARTED POURING
             OUT FROM UNDER THE HOOD. I HAD IT TOWED TO THE
19           DEALERSHIP WHERE I WAS INFORMED THAT SOMETHING
             FAILED IN THE CLUTCH, BLOWING A HOLE THROUGH THE
20           TRANSMISSION. THIS ALL HAPPENED WITHIN A MINUTE
             OR SO WHILE DRIVING AT HIGHWAY SPEEDS.
21
          d. 7/27/2015 WHILE   DRIVING   CLUTCH   WILL    LOSE
22           COMPRESSION MAKING IT DIFFICULT TO SHIFT WITHOUT
             GRINDING GEARS. CLUTCH WILL GO ALL THE WAY TO
23           THE FLOOR AND INHIBITED YOU FROM SHIFTING. I HAVE
             HAD TO SHIFT INTO NEUTRAL TO SLOW DOWN HOPING
24           THE CLUTCH REGAINS COMPRESSION IN ORDER TO SHIFT
             INTO APPROPRIATE GEAR. THIS ALSO INHIBITS PROPER
25           ACCELERATION WHEN SHIFTING GEARS.
26        e. 9/15/2015 THE VEHICLE HAS A MANUAL TRANSMISSION.
             MY VEHICLE REVS WHEN ATTEMPTING TO SHIFT IT. THE
27           CLUTCH WILL BE COMPLETELY UP AND THE VEHICLE
             WILL STILL REV AS IF IT IS ENGAGED. AT THIS POINT
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                 THERE IS NOTHING THAT CAN BE DONE UNTIL IT STOPS
 1               REVVING. IT ALSO GRINDS AND CLATTERS WHEN
                 SHIFTING FROM 1ST TO 2ND AND 2ND TO 3RD GEAR. VERY
 2               ROUGH SHIFTING AND SOMETIMES EXPERIENCE A
                 BURNING SMELL AFTER ITS DRIVEN.
 3
 4         56.     Also, complaints posted by consumers in forums demonstrate that
 5   the defect is widespread and dangerous and that it manifests without warning.
 6   The complaints also indicate Defendant’s awareness of the problems with the
 7   transmission and how potentially dangerous the defective condition is for
 8   consumers. The following are some safety complaints relating to Manual
 9   Transmission Defects (spelling and grammar mistakes remain as found in the
10   original) (Edmunds.com (May 25, 2016), http://www.edmunds.com/).
11         Edmunds.com
               a. Posted on 4/2/2016 by teddyluv: I too have thought about a
12                lawyer, as I had the master cylinder replaced twice since Sept
                  2014, then in Jan of this year, the clutch went out, I was told
13                that it was normal wear & tear, had nothing to do with the
                  master cylinder& therefore cost me 2369.00 to repair. then it
14                was back in the shop, the turbo went out on it...... had it back
                  for 6 days when once again, the clutch pedal went to the floor
15                & stayed there. For the THIRD time in 1 1/2 years my 2013
                  Dodge dart is Back in the shop to have the master cylinder
16                replaced . Chrysler just says " I am sorry & refuses to work
                  with me. Hello: Look at the cars history, I feel that Chrysler
17                should step up & do the " Right " thing here. They do not seem
                  to care about their customers, or realize just how much word
18                of mouth advertising can hurt their business. I can't begin to
                  tell you how many people I have already told about my issues,
19                and they Will not be purchasing a vehicle from Chrysler/
                  Dodge because of it. I am amazed that there are so many
20                issues with the Dodge dart & Chrysler is getting away scott
                  free.
21
                   b. Posted on 4/2/2016 by fireemt45: I have a 2015 Dodge Dart
22                    with 22000 miles on it. I started having problems with the car
                      two weeks ago. The clutch would reengage while driving
23                    down the road at about 3000 rpms in third and fourth gear.
                      That was the first couple days. I went to the dealer right away
24                    and I had to wait a week to get the car looked at. When I took
                      the car to the dealer finally the clutch was doing it in all six
25                    gears. They looked at it and claim that it is normal wear and
                      tear. They are paying for parts. I still dont understand how the
26                    clutch is out at 22000 miles. I have been driving a Manual
                      since I started driving. Has anyone had a similair problem and
27                    what their dealer did to fix the problem. I see that theres quite
                      a few problems with the master cylinder.
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 1         57.     The Transmission Defect poses an unreasonable safety risk for Class
 2   Members, as well as the drivers, passengers, and pedestrians sharing the road
 3   with Class Vehicles. A vehicle’s ability to switch gears when parked or while in
 4   motion, and the ability of a vehicle’s transmission to perform properly are
 5   critical to a vehicle’s safe operation. A defect that causes one or more of these
 6   negative characteristics poses a safety hazard to the general public, and increases
 7   the risk of automobile accidents.
 8               FCA Has Exclusive Knowledge of the Transmission Defect
 9         58.     FCA had superior and exclusive knowledge of the transmission
10   defect, and knew or should have known that the defect was not known or
11   reasonably discoverable by Plaintiffs and Class Members before they purchased
12   or leased the Class Vehicles.
13         59.     Plaintiffs are informed and believe and based thereon allege that
14   before Plaintiffs purchased their Class Vehicle, and since at least early 2012,
15   FCA knew about the Transmission Defect through sources not available to
16   consumers, including pre-release testing data, early consumer complaints about
17   the transmission defects to Chrysler and its dealers, testing conducted in
18   response to those complaints, high failure rates and replacement part sales data,
19   aggregate data from Chrysler dealers, among other internal sources of aggregate
20   information about the problem.
21         60.     Before the Class Vehicles were available for sale, FCA
22   acknowledged in its own press releases the extensive pre-release testing and
23   analysis it conducted before bringing the Manual Transmission to the market.
24   For example, on April 28, 2012, Chrysler posted a media release, where Bob
25   Lee, Vice President, Engine and Electrified Propulsion Engineering – Chrysler
26   Group LLC, stated, “The three new engines and transmissions available in the
27   new Dodge Dart have been designed and tested to meet consumer’s needs for
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 1   fuel economy, refinement, durability and power in a compact car.” Additionally,
 2   each transmission was said to have undergone “extensive testing and evaluation
 3   to ensure that customer expectations in the area of refined shifting characteristics
 4   . . . are met.”
 5          61.    FCA was also aware of the Transmission Defect through its
 6   experience with the same Manual Transmission used in 2011-2012 Dodge
 7   Journey vehicles, and the numerous complaints it received, both from consumers
 8   and from automotive journalists, who roundly criticized the performance of the
 9   Manual Transmission.
10          62.    In fact, on January 20, 2012, FCA issued Service Bulletin “06-001-
11   12” for the 2011-2012 model year Dodge Journey vehicles equipped with the
12   very same manual transmissions and suffering from similar if not identical
13   defects as alleged herein. Specifically, the Service Bulletin stated that the clutch
14   pedal was inoperative in some vehicles. The Dodge Dart and Dodge Journey
15   utilize the same Manual Transmission.
16          63.    Further, in or around November 2012, FCA issued service bulletin
17   10051770-2112 informing dealers that certain 2013 Dodge Dart vehicles were
18   equipped with defective clutch slave cylinders and could cause a hydraulic fluid
19   leak, which leads to a pressure loss in the clutch system and failure of the clutch
20   pedal. FCA instructed its dealers to replace the clutch slave cylinder in the
21   affected vehicles.
22          64.    Then, on or around August 15, 2014, FCA released STAR case
23   number S1406000001 to its dealers addressing an issue in Dodge Dart vehicles
24   equipped with the Manual Transmission where the “Clutch Pedal Does Not
25   Return (Remains on the Floor) After Depressing the Pedal.” FCA instructed its
26   dealers to inspect the clutch pedal and replace the clutch master cylinder and
27   reservoir hose, if necessary.
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 1           65.   Additionally, in or around January 2016, FCA extended the clutch
 2   master cylinder and reservoir hose warranty period due to 2013-2015 Dodge
 3   Dart vehicles exhibiting a “loss of clutch pedal operation including limited pedal
 4   travel and limited clutch disengagement.” FCA also provided reimbursement for
 5   Dodge Dart owners who experienced the clutch issues mentioned and previously
 6   paid for clutch master cylinder repairs. On information and belief, the campaign
 7   neither fixed the Transmission Defect nor actually reimbursed all owners
 8   affected by the Transmission Defect for repairs performed on the clutch master
 9   cylinder and reservoir hose.
10           66.   The existence of the Transmission Defect is a material fact that a
11   reasonable consumer would consider when deciding whether to purchase or lease
12   a vehicle that was equipped with a manual transmission. Had Plaintiffs and
13   other Class Members known that the Class Vehicles were equipped with
14   defective transmissions, they would not have purchased or leased the Class
15   Vehicles equipped with the Manual Transmissions or would have paid less for
16   them.
17           67.   Reasonable consumers, like Plaintiffs, reasonably expect that a
18   vehicle’s transmission is safe, will function in a manner that will not pose a
19   safety hazard, and is free from defects. Plaintiffs and Class Members further
20   reasonably expect that FCA will not sell or lease vehicles with known safety
21   defects, such as the Transmission Defect, and will disclose any such defects to its
22   consumers when it learns of them. They did not expect Chrysler to fail to
23   disclose the Transmission Defect to them and to continually deny the defect.
24                 FCA Has Actively Concealed the Transmission Defect
25           68.   While FCA has been fully aware of the Transmission Defect in the
26   Class Vehicles, it actively concealed the existence and nature of the defect from
27   Plaintiffs and Class Members at the time of purchase, lease or repair and
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 1   thereafter. Specifically, FCA failed to disclose or actively concealed at and after
 2   the time of purchase, lease, or repair:
 3                (a)   any and all known material defects or material nonconformity
 4                      of the Class Vehicles, including the defects relating to the
 5                      Manual Transmission;
 6                (b)   that the Class Vehicles, including their Manual Transmission,
 7                      were not in good in working order, were defective, and were
 8                      not fit for their intended purposes; and
 9                (c)   that the Class Vehicles and their Manual Transmission were
10                      defective, despite the fact that FCA learned of such defects
11                      through alarming failure rates, customer complaints, as well
12                      as through other internal sources, as early as 2012.
13         69.    As a result of the Transmission Defect, FCA was inundated with
14   complaints regarding the Manual Transmission.
15         70.    When consumers present the Class Vehicles to an authorized FCA
16   dealer for repair of the transmission, rather than repair the problem under
17   warranty, FCA dealers either inform consumers that their vehicles are
18   functioning properly, or conduct repairs that merely mask the defect. In fact,
19   even when presented with video evidence of the Transmission Defect herein
20   alleged, FCA authorized repair facilities, which act as FCA’s repair agents,
21   inform Class Members that the defect is known.
22         71.    To this day, FCA has still not modified or redesigned any of the
23   defective components that continue to cause the Transmission Defect.
24         72.    On information and belief, FCA has caused Plaintiffs and Class
25   Members to expend money at its dealerships to diagnose, repair or replace the
26   Class Vehicles’ clutch master cylinder and reservoir hose, clutch slave cylinder
27   and release bearing, clutch disc and pressure plate, and flywheel, despite FCA’s
28
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 1   knowledge of the Transmission Defect.
 2                          CLASS ACTION ALLEGATIONS
 3         73.    Plaintiffs bring this lawsuit as a class action on behalf of themselves
 4   and all others similarly situated as members of the proposed Class pursuant to
 5   Federal Rules of Civil Procedure 23(a) and 23(b)(3). This action satisfies the
 6   numerosity, commonality, typicality, adequacy, predominance, and superiority
 7   requirements of those provisions.
 8         74.    The Class and Sub-Class are defined as:
                  Nationwide Class: All individuals in the United States
 9                who purchased or leased any Dodge Dart vehicle
                  equipped with a Manual Transmission (the “Nationwide
10                Class” or “Class”).
11                California Sub-Class: All members of the Nationwide
                  Class who reside in the State of California.
12
                  CLRA Sub-Class: All members of the California Sub-
13                Class who are “consumers” within the meaning of
                  California Civil Code § 1761(d).
14
15                Implied Warranty Sub-Class: All members of the
                  Nationwide Class who purchased or leased their
16                vehicles in the State of California.
17
18         75.    Excluded from the Class and Sub-Classes are: (1) Defendant, any
19   entity or division in which Defendant has a controlling interest, and their legal
20   representatives, officers, directors, assigns, and successors; (2) the Judge to
21   whom this case is assigned and the Judge’s staff; and (3) those persons who have
22   suffered personal injuries as a result of the facts alleged herein. Plaintiffs reserve
23   the right to amend the Class and Sub-Class definitions if discovery and further
24   investigation reveal that the Class and Sub-Class should be expanded or
25   otherwise modified.
26         76.    Numerosity: Although the exact number of Class Members is
27   uncertain and can only be ascertained through appropriate discovery, the number
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 1   is great enough such that joinder is impracticable. The disposition of the claims
 2   of these Class Members in a single action will provide substantial benefits to all
 3   parties and to the Court. The Class Members are readily identifiable from
 4   information and records in Defendant’s possession, custody, or control, as well
 5   as from records kept by the Department of Motor Vehicles.
 6         77.   Typicality: Plaintiffs’ claims are typical of the claims of the Class
 7   in that Plaintiffs, like all Class Members, purchased or leased a Class Vehicle
 8   designed, manufactured, and distributed by FCA, and equipped with a Manual
 9   Transmission. The representative Plaintiffs, like all Class Members, have been
10   damaged by Defendant’s misconduct in that they have incurred or will incur the
11   cost of repairing or replacing the defective transmission. Furthermore, the
12   factual bases of FCA’s misconduct are common to all Class Members and
13   represent a common thread resulting in injury to all Class Members.
14         78.   Commonality: There are numerous questions of law and fact
15   common to Plaintiffs and the Class that predominate over any question affecting
16   only individual Class Members. These common legal and factual issues include
17   the following:
18               (a)    Whether Class Vehicles suffer from defects relating to the
19                      Manual Transmission;
20               (b)    Whether the defects relating to the Manual Transmission
21                      constitute an unreasonable safety risk;
22               (c)    Whether Defendant knows about the defects relating to the
23                      Manual Transmission and, if so, how long Defendant has
24                      known of the defect;
25               (d)    Whether the defective nature of the Manual Transmission
26                      constitutes a material fact;
27               (e)    Whether Defendant has a duty to disclose the defective nature
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 1                      of the Manual Transmission to Plaintiffs and Class Members;
 2                (f)   Whether Plaintiffs and the other Class Members are entitled
 3                      to equitable relief, including but not limited to a preliminary
 4                      and/or permanent injunction;
 5                (g)   Whether Defendant knew or reasonably should have known of
 6                      the defects relating to the Manual Transmission before it sold
 7                      and leased Class Vehicles to Class Members;
 8                (h)   Whether Defendant should be declared financially responsible
 9                      for notifying all Class Members of the problems with the
10                      Class Vehicles and for the costs and expenses of repairing and
11                      replacing the defective Manual Transmission;
12                (i)   Whether Defendant is obligated to inform Class Members of
13                      their right to seek reimbursement for having paid to diagnose,
14                      repair, or replace their defective Manual Transmission or
15                      clutch components;
16                (j)   Whether Defendant breached the implied warranty of
17                      merchantability pursuant to the Magnuson-Moss Act; and
18                (k)   Whether Defendant breached the implied warranty of
19                      merchantability pursuant to the Song-Beverly Act;
20         79.    Adequate Representation: Plaintiffs will fairly and adequately
21   protect the interests of the Class Members. Plaintiffs have retained attorneys
22   experienced in the prosecution of class actions, including consumer and product
23   defect class actions, and Plaintiffs intend to prosecute this action vigorously.
24         80.    Predominance and Superiority: Plaintiffs and Class Members have
25   all suffered and will continue to suffer harm and damages as a result of
26   Defendant’s unlawful and wrongful conduct. A class action is superior to other
27   available methods for the fair and efficient adjudication of the controversy.
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 1   Absent a class action, most Class Members would likely find the cost of
 2   litigating their claims prohibitively high and would therefore have no effective
 3   remedy at law. Because of the relatively small size of the individual Class
 4   Members’ claims, it is likely that only a few Class Members could afford to seek
 5   legal redress for Defendant’s misconduct. Absent a class action, Class Members
 6   will continue to incur damages, and Defendant’s misconduct will continue
 7   without remedy. Class treatment of common questions of law and fact would
 8   also be a superior method to multiple individual actions or piecemeal litigation in
 9   that class treatment will conserve the resources of the courts and the litigants,
10   and will promote consistency and efficiency of adjudication.
11                             FIRST CAUSE OF ACTION
12               (Violation of California’s Consumers Legal Remedies Act,
13                         California Civil Code § 1750, et seq.)
14         81.     Plaintiffs incorporate by reference the allegations contained in the
15   preceding paragraphs of this Complaint.
16         82.     Plaintiffs bring this cause of action on behalf of themselves and on
17   behalf of the members of the CLRA Sub-Class.
18         83.     Defendant is a “person” as defined by California Civil Code
19   § 1761(c).
20         84.     Plaintiffs and CLRA Sub-class Members are “consumers” within the
21   meaning of California Civil Code § 1761(d) because they purchased their Class
22   Vehicles primarily for personal, family, or household use.
23         85.     By failing to disclose and concealing the defective nature of the
24   transmissions from Plaintiffs and prospective Class Members, Defendant
25   violated California Civil Code § 1770(a), as it represented that the Class
26   Vehicles and their transmissions had characteristics and benefits that they do not
27   have, and represented that the Class Vehicles and their transmissions were of a
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 1   particular standard, quality, or grade when they were of another. See Cal. Civ.
 2   Code §§ 1770(a)(5) & (7).
 3         86.     Defendant’s unfair and deceptive acts or practices occurred
 4   repeatedly in Defendant’s trade or business, were capable of deceiving a
 5   substantial portion of the purchasing public, and imposed a serious safety risk on
 6   the public.
 7         87.     Defendant knew that the Class Vehicles and their transmissions
 8   suffered from an inherent defect, were defectively designed, and were not
 9   suitable for their intended use.
10         88.     As a result of their reliance on Defendant’s omissions , owners
11   and/or lessees of the Class Vehicles suffered an ascertainable loss of money,
12   property, and/or value of their Class Vehicles. Additionally, as a result of the
13   Transmission Defect, Plaintiffs and Class Members were harmed and suffered
14   actual damages in that the Class Vehicles’ clutch components are substantially
15   certain to fail before their expected useful life has run.
16         89.     Defendant was under a duty to Plaintiffs and Class Members to
17   disclose the defective nature of the transmissions and/or the associated repair
18   costs because:
19                 (a)   Defendant was in a superior position to know the true state of
20                       facts about the safety defect in the Class Vehicles’
21                       transmissions;
22                 (b)   Plaintiffs and Class Members could not reasonably have been
23                       expected to learn or discover that their transmissions had a
24                       dangerous safety defect until it manifested; and
25                 (c)   Defendant knew that Plaintiffs and Class Members could not
26                       reasonably have been expected to learn of or discover the
27                       safety defect.
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 1         90.    In failing to disclose the defective nature of the transmissions,
 2   Defendant knowingly and intentionally concealed material facts and breached its
 3   duty not to do so.
 4         91.    The facts Defendant concealed from or failed to disclose to
 5   Plaintiffs and Class Members are material in that a reasonable consumer would
 6   have considered them to be important in deciding whether to purchase or lease
 7   the Class Vehicles or pay less. Had Plaintiffs and Class Members known that the
 8   Class Vehicles’ transmissions were defective, they would not have purchased or
 9   leased the Class Vehicles or would have paid less for them.
10         92.    Plaintiffs and Class Members are reasonable consumers who do not
11   expect the transmissions installed in their vehicles to exhibit problems such as
12   the clutch pedals “going soft” and remaining depressed to the floor,
13   transmissions failing to engage or disengage, gear shifts burning out, the clutches
14   and transmissions burning out, stalling, and failure to accelerate or decelerate.
15   This is the reasonable and objective consumer expectation relating to vehicle
16   transmissions.
17         93.    As a result of Defendant’s conduct, Plaintiffs and Class Members
18   were harmed and suffered actual damages in that, on information and belief, the
19   Class Vehicles experienced and will continue to experience problems such as the
20   clutch pedals “going soft” and remaining depressed to the floor, transmissions
21   failing to engage or disengage, gear shifts burning out, the clutches and
22   transmissions burning out, stalling, and failure to accelerate or decelerate.
23         94.    As a direct and proximate result of Defendant’s unfair or deceptive
24   acts or practices, Plaintiffs and Class Members suffered and will continue to
25   suffer actual damages.
26         95.    Plaintiffs and the Class are entitled to equitable relief.
27         96.    Plaintiffs provided Defendant with notice of its violations of the
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 1   CLRA pursuant to California Civil Code § 1782(a). Defendant failed to provide
 2   appropriate relief for their violations of the CLRA within 30 days. Therefore,
 3   Plaintiffs seek monetary, compensatory, and punitive damages, in addition to
 4   injunctive and equitable relief.
 5                            SECOND CAUSE OF ACTION
 6       (Violation of California Business & Professions Code § 17200, et seq.)
 7         97.    Plaintiffs incorporate by reference the allegations contained in the
 8   preceding paragraphs of this Complaint.
 9         98.    Plaintiffs bring this cause of action on behalf of themselves and on
10   behalf of the California Sub-Class.
11         99.    As a result of their reliance on Defendant’s omissions , owners
12   and/or lessees of the Class Vehicles suffered an ascertainable loss of money,
13   property, and/or value of their Class Vehicles. Additionally, as a result of the
14   Transmission Defect, Plaintiffs and Class Members were harmed and suffered
15   actual damages in that the Class Vehicles’ clutch components are substantially
16   certain to fail before their expected useful life has run.
17         100. California Business & Professions Code § 17200 prohibits acts of
18   “unfair competition,” including any “unlawful, unfair or fraudulent business act
19   or practice” and “unfair, deceptive, untrue or misleading advertising.”
20         101. Plaintiffs and Class Members are reasonable consumers who do not
21   expect their transmissions to exhibit problems such as the clutch pedals “going
22   soft” and remaining depressed to the floor, transmissions failing to engage or
23   disengage, gear shifts burning out, the clutches and transmissions burning out,
24   stalling, and failure to accelerate or decelerate.
25         102. Defendant knew the Class Vehicles and their transmissions suffered
26   from inherent defects, were defectively designed or manufactured, would fail
27   prematurely, and were not suitable for their intended use.
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 1         103. In failing to disclose the defects with the transmission, Defendant
 2   has knowingly and intentionally concealed material facts and breached its duty
 3   not to do so.
 4         104. Defendant was under a duty to Plaintiffs and Class Members to
 5   disclose the defective nature of the Class Vehicles and their transmissions:
 6                   (a)   Defendant was in a superior position to know the true state of
 7                         facts about the safety defect in the Class Vehicles’
 8                         transmissions;
 9                   (b)   Defendant made partial disclosures about the quality of the
10                         Class Vehicles without revealing the defective nature of the
11                         Class Vehicles and their transmissions; and
12                   (c)   Defendant actively concealed the defective nature of the Class
13                         Vehicles and their transmissions from Plaintiffs and the Class.
14         105. The facts Defendant concealed from or not disclosed to Plaintiffs
15   and Class Members are material in that a reasonable person would have
16   considered them to be important in deciding whether to purchase or lease Class
17   Vehicles. Had Plaintiffs and other Class Members known that the Class
18   Vehicles’ transmissions were defective and posed a safety hazard, then Plaintiffs
19   and the other Class Members would not have purchased or leased Class Vehicles
20   equipped with transmissions, or would have paid less for them.
21         106. Defendant continued to conceal the defective nature of the Class
22   Vehicles and their transmissions even after Class Members began to report
23   problems. Indeed, Defendant continues to cover up and conceal the true nature
24   of the problem.
25         107. Defendant’s conduct was and is likely to deceive consumers.
26         108. Defendant’s acts, conduct and practices were unlawful, in that they
27   constituted:
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 1                (a)   Violations of California’s Consumers Legal Remedies Act;
 2                (b)   Violations of the Song-Beverly Consumer Warranty Act;
 3                (c)   Violations of the Magnuson-Moss Warranty Act.
 4         109. By its conduct, Defendant has engaged in unfair competition and
 5   unlawful, unfair, and fraudulent business practices.
 6         110. Defendant’s unfair or deceptive acts or practices occurred
 7   repeatedly in Defendant’s trade or business, and were capable of deceiving a
 8   substantial portion of the purchasing public.
 9         111. As a direct and proximate result of Defendant’s unfair and deceptive
10   practices, Plaintiffs and the Class have suffered and will continue to suffer actual
11   damages.
12         112. Defendant has been unjustly enriched and should be required to
13   make restitution to Plaintiffs and the Class pursuant to §§ 17203 and 17204 of
14   the Business & Professions Code.
15                            THIRD CAUSE OF ACTION
16              (Breach of Implied Warranty Pursuant to Song-Beverly
17   Consumer Warranty Act, California Civil Code §§ 1792 and 1791.1, et seq.)
18         113. Plaintiffs incorporate by reference the allegations contained in the
19   preceding paragraphs of this Complaint.
20         114. Plaintiffs bring this cause of action against Defendant on behalf of
21   themselves and on behalf of the members of the Implied Warranty Sub-Class.
22         115. Defendant was at all relevant times the manufacturer, distributor,
23   warrantor, and/or seller of the Class Vehicles. Defendant knew or had reason to
24   know of the specific use for which the Class Vehicles were purchased or leased.
25         116. Defendant provided Plaintiffs and Class Members with an implied
26   warranty that the Class Vehicles and their components and parts are
27   merchantable and fit for the ordinary purposes for which they were sold.
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 1   However, the Class Vehicles are not fit for their ordinary purpose of providing
 2   reasonably reliable and safe transportation because, inter alia, the Class Vehicles
 3   and their transmissions suffered from an inherent defect at the time of sale and
 4   thereafter are not fit for their particular purpose of providing safe and reliable
 5   transportation.
 6         117. Defendant impliedly warranted that the Class Vehicles were of
 7   merchantable quality and fit for such use. This implied warranty included,
 8   among other things: (i) a warranty that the Class Vehicles and their
 9   transmissions were manufactured, supplied, distributed, and/or sold by FCA
10   were safe and reliable for providing transportation; and (ii) a warranty that the
11   Class Vehicles and their transmissions would be fit for their intended use while
12   the Class Vehicles were being operated.
13         118. Contrary to the applicable implied warranties, the Class Vehicles
14   and their transmissions at the time of sale and thereafter were not fit for their
15   ordinary and intended purpose of providing Plaintiffs and Class Members with
16   reliable, durable, and safe transportation. Instead, the Class Vehicles are
17   defective, including but not limited to the defective design and manufacture of
18   their transmissions.
19         119. The alleged Transmission Defect is inherent in each Class Vehicle
20   and was present in each Class Vehicle at the time of sale.
21         120. As a result of Defendant’s breach of the applicable implied
22   warranties, owners and/or lessees of the Class Vehicles suffered an ascertainable
23   loss of money, property, and/or value of their Class Vehicles. Additionally, as a
24   result of the Transmission Defect, Plaintiffs and Class Members were harmed
25   and suffered actual damages in that the Class Vehicles’ clutch components are
26   substantially certain to fail before their expected useful life has run.
27         121. Defendant’s actions, as complained of herein, breached the implied
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 1   warranty that the Class Vehicles were of merchantable quality and fit for such
 2   use in violation of California Civil Code §§ 1792 and 1791.1.
 3                           FOURTH CAUSE OF ACTION
 4     (Breach of Implied Warranty under the Magnuson-Moss Warranty Act,
 5                                15 U.S.C. § 2303 et seq.)
 6         122. Plaintiffs incorporate by reference the allegations contained in the
 7   preceding paragraphs of this Complaint.
 8         123. Plaintiffs bring this cause of action on behalf of themselves and on
 9   behalf of the Nationwide Class, or, in the alternative, on behalf of the California
10   Sub-Class, against Defendant.
11         124. The Class Vehicles are a “consumer product” within the meaning of
12   the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).
13         125. Plaintiffs and Class Members are “consumers” within the meaning
14   of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
15         126. Defendant is a “supplier” and “warrantor” within the meaning of the
16   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).
17         127. FCA impliedly warranted that the Class Vehicles were of
18   merchantable quality and fit for such use. This implied warranty included,
19   among other things: (i) a warranty that the Class Vehicles and their
20   transmissions were manufactured, supplied, distributed, and/or sold by FCA
21   were safe and reliable for providing transportation; and (ii) a warranty that the
22   Class Vehicles and their transmissions would be fit for their intended use while
23   the Class Vehicles were being operated.
24         128. Contrary to the applicable implied warranties, the Class Vehicles
25   and their transmissions at the time of sale and thereafter were not fit for their
26   ordinary and intended purpose of providing Plaintiffs and Class Members with
27   reliable, durable, and safe transportation. Instead, the Class Vehicles are
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 1   defective, including but not limited to the defective design of their transmissions.
 2         129. Defendant’s breach of implied warranties has deprived Plaintiffs
 3   and Class Members of the benefit of their bargain.
 4         130. The amount in controversy of Plaintiffs’ individual claims meets or
 5   exceeds the sum or value of $25,000. In addition, the amount in controversy
 6   meets or exceeds the sum or value of $50,000 (exclusive of interests and costs)
 7   computed on the basis of all claims to be determined in this suit.
 8         131. Defendant has been afforded a reasonable opportunity to cure its
 9   breach, including when Plaintiffs and Class Members brought their vehicles in
10   for diagnoses and repair of the transmission.
11         132. As a direct and proximate cause of Defendant’s breach of implied
12   warranties, Plaintiffs and Class Members sustained damages and other losses in
13   an amount to be determined at trial. Defendant’s conduct damaged Plaintiffs and
14   Class Members, who are entitled to recover actual damages, consequential
15   damages, specific performance, diminution in value, costs, attorneys’ fees,
16   and/or other relief as appropriate.
17         133. As a result of Defendant’s violations of the Magnuson-Moss
18   Warranty Act as alleged herein Plaintiffs and Class Members have incurred
19   damages.
20                             FIFTH CAUSE OF ACTION
21                               (For Unjust Enrichment)
22         134. Plaintiffs incorporate by reference the allegations contained in the
23   preceding paragraphs of this Complaint.
24         135. Plaintiffs bring this cause of action on behalf of themselves and on
25   behalf of the Class Members against Defendant.
26         136. As a direct and proximate result of Defendant’s failure to disclose
27   known defects, Defendant has profited through the sale and lease of said
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 1   vehicles. Although these vehicles are purchased through Defendant’s agents, the
 2   money from the vehicle sales flows directly back to Defendant.
 3         137. Additionally, as a direct and proximate result of Defendant’s failure
 4   to disclose known defects in the Class Vehicles, Plaintiffs and Class Members
 5   have vehicles that require repeated, high-cost repairs that can and therefore have
 6   conferred an unjust substantial benefit upon Defendant.
 7         138. Defendant has therefore been unjustly enriched due to the known
 8   defects in the Class Vehicles through the use of funds that earned interest or
 9   otherwise added to Defendant’s profits when said money should have remained
10   with Plaintiffs and Class Members.
11         139. As a result of the Defendant’s unjust enrichment, Plaintiffs and
12   Class Members have suffered damages.
13                               RELIEF REQUESTED
14         140. Plaintiffs, on behalf of themselves, and all others similarly situated,
15   request the Court to enter judgment against Defendant, as follows:
16               (a)    An order certifying the proposed Class and Sub-Classes,
17                      designating Plaintiffs as named representative of the Class,
18                      and designating the undersigned as Class Counsel;
19               (a)    A declaration that Defendant is financially responsible for
20                      notifying all Class Members about the defective nature of the
21                      Manual Transmission, including the need for periodic
22                      maintenance;
23               (b)    An order enjoining Defendant from further deceptive
24                      distribution, sales, and lease practices with respect to Class
25                      Vehicles; compelling Defendant to issue a recall for the Class
26                      Vehicles pursuant to the applicable NHTSA guidelines;
27                      compelling Defendant to remove, repair, and/or replace the
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 1                    Class Vehicles’ defective transmission components with
 2                    suitable alternative product(s) that do not contain the defects
 3                    alleged herein; enjoining Defendant from selling the Class
 4                    Vehicles with the misleading information; and/or compelling
 5                    Defendant to reform its warranty, in a manner deemed to be
 6                    appropriate by the Court, to cover the injury alleged and to
 7                    notify all Class Members that such warranty has been
 8                    reformed;
 9              (c)   A declaration requiring Defendant to comply with the various
10                    provisions of the Song-Beverly Act alleged herein and to
11                    make all the required disclosures;
12              (d)   An award to Plaintiffs and the Class for compensatory,
13                    exemplary, and statutory damages, including interest, in an
14                    amount to be proven at trial;
15              (e)   Any and all remedies provided pursuant to the Song-Beverly
16                    Act, including California Civil Code section 1794;
17              (f)   Any and all remedies provided pursuant to the Magnuson-
18                    Moss Warranty Act;
19              (g)   A declaration that Defendant must disgorge, for the benefit of
20                    the Class, all or part of the ill-gotten profits it received from
21                    the sale or lease of its Class Vehicles, or make full restitution
22                    to Plaintiffs and Class Members;
23              (h)   An award of attorneys’ fees and costs, as allowed by law;
24              (i)   An award of attorneys’ fees and costs pursuant to California
25                    Code of Civil Procedure § 1021.5;
26              (j)   An award of pre-judgment and post-judgment interest, as
27                    provided by law;
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 1                (k)    Leave to amend the Complaint to conform to the evidence
 2                       produced at trial; and
 3                (l)    Such other relief as may be appropriate under the
 4                       circumstances.
 5                              DEMAND FOR JURY TRIAL
 6         141. Pursuant to Federal Rule of Civil Procedure 38(b) and Southern
 7   District of California Local Rule 38.1, Plaintiffs demand a trial by jury of any
 8   and all issues in this action so triable.
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     Dated: June 24, 2016                         Respectfully submitted,
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                                                  Capstone Law APC
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                                           By: /s/ Jordan L. Lurie
13                                             Jordan L. Lurie
                                               Robert Friedl
14                                             Tarek H. Zohdy
                                               Cody R. Padgett
15                                             Karen L. Wallace
16                                                Attorneys for Plaintiffs Carlos Victorino
                                                  and Adam Tavitian
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